       In The Matter Of:
Fayetteville Public Library, et al v.
 Crawford County, Arkansas, et al




County Judge Christopher Lee Keith
         March 26, 2024
  CERTIFIED ORIGINAL/COPY



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Fayetteville Public Library, et al v.         CERTIFIED ORIGINAL/COPY                      County Judge Christopher Lee Keith
Crawford County, Arkansas, et al                                                                               March 26, 2024
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 1          IN THE UNITED STATES DISTRICT COURT                  1            A P P E A R A N C E S (CONTINUED)
               WESTERN DISTRICT OF ARKANSAS
 2                   FAYETTEVILLE DIVISION                       2   MR. BENJAMIN M. SEEL
                                                                     Attorney at Law
 3 FAYETTEVILLE PUBLIC LIBRARY, a political                      3   Democracy Forward Foundation
   subdivision in the City of Fayetteville,                          P.O. Box 34554
 4 State of Arkansas; EUREKA SPRINGS CARNEGIE                    4   Washington, DC 20043
   PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY                          bseel@democracyforward.org
 5 SYSTEM; NATE COULTER; OLIVIA FARRELL;                         5                         (VIA ZOOM)
   HAYDEN KIRBY;MIEL PARTAIN, in her own capacity                    *** For the Arkansas Library Association, Advocates for
 6 and as parent and next friend of MADELINE PARTAIN;            6   All Arkansas Libraries and Adam Webb, in his individual
   LETA CAPLINGER; ADAM WEBB;                                        capacity ***
 7 ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR                   7
   ALL ARKANSAS LIBRARIES; PEARL'S BOOKS, LLC;                       MR. MICHAEL A. BAMBERGER
 8 WORDSWORTH COMMUNITY BOOKSTORE, LLC, d/b/a                    8   Attorney at Law
   WORDSWORTH BOOKS; AMERICAN BOOKSELLERS ASSOCIATION;               Dentons US, LLP
 9 ASSOCIATION OF AMERICAN PUBLISHERS,INC.; AUTHORS              9   1221 Avenue of the Americas
   GUILD, INC.; COMIC BOOK LEGAL DEFENSE FUND                        New York, NY 10020
10 and FREEDOM TO READ FOUNDATION,                 PLAINTIFFS   10   michael.bamberger@dentons.com
                                                                                           (VIA ZOOM)
11 vs.                                  NO. 5:23-CV-05086-TLB   11   *** For the Plaintiffs, Pearl's Books, LLC; Wordsworth
                                                                     Community Bookstore, LLC; American Booksellers
12 CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his               12   Association; Association of American Publishers, Inc.;
   official capacity as Crawford County Judge;                       Authors Guild, Inc; Comic Book Legal Defense Fund; and
13 TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;                13   Freedom to Read Foundation ***
   MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA
14 HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;               14   MR. GLENN V. LARKIN
   JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;               Attorney at Law
15 DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,         15   Quattlebaum, Grooms & Tull, PLLC
   II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.                   4100 Corporate Center Drive, Suite 310
16 LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;         16   Springdale, Arkansas 72762
   CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK                glarkin@qgtlaw.com
17 GRAHAM, each and in his or her official capacity as a        17                        (VIA ZOOM)
   prosecuting attorney for the State of Arkansas, DEFENDANTS        *** For the Plaintiff, Fayetteville Public Library ***
18                                                              18
                                                                     ALSO PRESENT:
19                                                              19   Leta Joe Caplinger, Plaintiff
                       ORAL DEPOSITION                               Miel Ann Delorey Partain, Plaintiff
20                                                              20
                               OF
21                                                              21
                  JUDGE CHRISTOPHER LEE KEITH
22                                                              22
23 ***** THE ABOVE-STYLED MATTER was reported by Michelle R.    23
   Satterfield, CCR, LS Certificate No. 570, at the Wahlmeier
24 Law Firm, located at 1101 Walnut, Van Buren, Arkansas,       24
   commencing on the 26th day of March 2024, at 2:33 p.m.
25 *****                                                        25

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 1                 A P P E A R A N C E S                         1                            I N D E X
 2 MR. JOHN T. ADAMS                                             2        TOPIC                                              PAGE
   Attorney at Law
 3 Fuqua Campbell, P.A.                                          3   APPEARANCES                                               2-3
   Riviera Tower - 3700 Cantrell Road, Suite 205
 4 Little Rock, Arkansas 72201                                   4   STIPULATIONS                                                5
   jadams@fc-lawyers.com
 5                                                               5   WITNESS SWORN:    Judge Christopher Lee Keith               6
   *** For the Plaintiffs, Central Arkansas Library System,
 6 Nate Coulter and the Eureka Springs Carnegie Public           6            Examination by Mr. Adams                           6
   Library ***
 7                                                               7            Examination by Mr. Watson                         69
   MR. NOAH WATSON
 8 Senior Assistant Attorney General                             8            Examination by Mr. McLelland                      74
   323 Center Street, Suite 200
 9 Little Rock, Arkansas 72201                                   9            Further Examination by Mr. Adams                  85
   Noah.Watson@ArkansasAG.gov
10                                                              10            Further Examination by Mr. Watson                 92
   *** For the State of Arkansas Prosecuting Attorneys ***
11                                                              11            Further Examination by Mr. McLelland              94
   MS. BETTINA E. BROWNSTEIN
12 Attorney at Law                                              12   WITNESS SIGNATURE PAGE                                     97
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   Little Rock, Arkansas 72201
14 bettinabrownstein@gmail.com                                  14   REPORTER'S CERTIFICATE                                     99
15 *** For the Plaintiffs, Olivia Farrell, Jennie Kirby,        15                        E X H I B I T S
   Hayden Kirby and Leta Caplinger ***
16 *** On Behalf of the Arkansas Civil                          16   NUMBER                  DESCRIPTION                     PAGE
       Liberties Union Foundation, Inc. ***
17                                                              17   Exhibit 1        Copy of Act 372                           40
   MR. SAMUEL S. MCLELLAND
18 Attorney at Law                                              18   Exhibit 5        Hamby Letter dated 11/10/22               15
   PPGMR Law, PLLC
19 201 East Markham Street, Suite 201                           19   Exhibit 8        Bates No. CrawfordCo_000068               62
   Little Rock, Arkansas 72201
20 sam@ppgmrlaw.com                                             20   Exhibit 9        Bates No. CrawfordCo_000067               87
21 *** For Crawford County, Arkansas, and County Judge          21   Exhibit 10       Bates Nos. CrawfordCo_000023-000030       10
       Chris Keith, in his official capacity ***
22                                                              22   Exhibit 11    Bates Nos. CrawfordCo_000036-000039  38
                                                                           (COPIES OF EXHIBITS SCANNED INTO ETRANSCRIPT)
23                                                              23
24                                                              24
25                                                              25


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 1                                                                1         JUDGE CHRISTOPHER LEE KEITH,
 2                                                                2 the witness hereinbefore named, having been previously
 3                                                                3 cautioned and sworn, or affirmed, to tell the truth, the
 4                                                                4 whole truth, and nothing but the truth, testified as
 5                                                                5 follows:
 6                                                                6              EXAMINATION
 7                                                                7 BY MR. ADAMS:
 8                                                                8 Q Good afternoon, Judge Keith.
 9                                                                9 A Good afternoon.
10                                                               10 Q Thank you for being here.
11                                                               11 A Absolutely.
12                                                               12 Q I'm going to start with a little bit of just general
13                                                               13 background about this process. Have you ever had your
14                                                               14 deposition taken before?
15                                                               15 A I have.
16                                                               16 Q And what kind of case was that?
17                                                               17 A That was the Virden case.
18                                                               18 Q Oh, okay. Have you had any other depositions besides
19                                                               19 that?
20                                                               20 A No, sir.
21                                                               21 Q Okay. So that was your first one?
22                                                               22 A Yes, sir.
23                                                               23 Q Well, maybe this is going to be a bit of a recap
24                                                               24 then, but I'm going to go over a few things.
25                                                               25 A Okay.


                                                        Page 6                                                           Page 8
 1              ANSWERS AND DEPOSITION OF JUDGE CHRISTOPHER
                                                                  1 Q In order to make things workable for our Court
 2   LEE KEITH a witness produced at the request of the
                                                                  2 Reporter, Ms. Satterfield, it makes it helpful if we don't
 3   PLAINTIFFS, was taken in the above-styled and numbered
                                                                  3 talk over each other, which I can be bad about if I'm
 4   cause on the 26th day of March 2024, before Michelle R.
                                                                  4 hurrying to get to the next question, and sometimes people
 5   Satterfield, CCR, a Notary Public in and for Faulkner
                                                                  5 want to anticipate the question, but it helps her get all
 6   County, Arkansas, at the offices of the Wahlmeier Law
                                                                  6 of our words down.
 7   Firm, Located 1101 Walnut, Van Buren, Arkansas, at 2:33
                                                                  7 A Sure.
 8   p.m., pursuant to the agreement hereinafter set forth.       8 Q The other thing that helps her get all of our words
 9                                                                9 down, is if we don't say uh-huh or just nod or shake our
                     S T I P U L A T I O N S
10                                                               10 heads, which we also just do out of habit because that's a
               IT IS STIPULATED AND AGREED by and between the
11                                                               11 normal conversational thing, but she's got to get our
     parties through their respective counsel that the
12                                                               12 words on paper.
     deposition of Judge Christopher Lee Keith may be taken at
13                                                               13     And then, finally, breaks, you know, I think we want
     the time and place designated pursuant to the Federal
14                                                               14 to get it done quickly, but if at some point you ever want
     Rules of Civil Procedure.
15                                                               15 a break, that's also totally fine.
                             * * * * *
16                                                               16 A Well, I had a glass of water at lunch.
17                                                               17 Q If you need one, yeah. We're not going to make it
18                                                               18 into a contest of bladders.
19                                                               19     The only thing I ask is if there's a question on the
20                                                               20 table, we ask you to answer that and then we can take a
21                                                               21 break and move on.
22                                                               22 A Okay.
23                                                               23 Q Okay. Let's kind of dive right in. What's your
24                                                               24 current job?
25                                                               25 A I'm the Crawford County Judge.


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 1 Q Okay. And when were you elected?                           1 A That's for the January meeting, not December.
 2 A I was elected in June of 2022. I took office January       2 Q My thought when I read that, was that these were
 3 1st of 2023.                                                 3 just --
 4 Q Okay. And how long is your term?                           4 A This was just the approval --
 5 A Four years.                                                5 Q -- a Journal of Procedures prepared --
 6 Q Okay. What are the duties and responsibilities of          6 A This was just the approval at the January meeting in
 7 the County Judge?                                            7 December of --
 8 A I'm the executive of the County, the administrator         8 Q Okay. But you signed it to indicate that the Quorum
 9 over all the County, the road department, county             9 Court had adopted these as an accurate description of what
10 buildings, county inventory and so forth.                   10 happened at the meeting on December 19th, 2022?
11 Q Okay. Is it fair to say that you can set policy for       11 A Correct.
12 the County about discretionary decisions you make?          12 Q You weren't the Judge yet, but you said you were in
13 A I can bring it before the Quorum Court and they set       13 attendance --
14 it.                                                         14 A Yes.
15 Q Okay. But there are certain decisions that are just       15 Q -- as County Judge Elect, right?
16 delegated to you as the chief executive of the County,      16 A Yes.
17 though, right?                                              17 Q Okay. So I guess I want to go through and talk
18 A Yes.                                                      18 about, maybe not all of it, but a lot of what the long
19 Q I mean, ultimately what you decide goes for hiring        19 narrative that starts on Page 24 and runs through 28 says
20 and firing decisions and things of that nature?             20 about this discussion about the library.
21 A Correct.                                                  21 A Okay.
22 Q Okay. Did you learn about library controversy at all      22 Q So the first thing, at the top of Page 24 it says:
23 between June, when it sounded like you won the runoff in    23 "Justice Peppas made the motion, second by Justice Atwell
24 June of 2022, and January 1st of 2023? I take it that's     24 to the quorum to let Dr. Hamby speak for 15 minutes,
25 when you took office?                                       25 unanimous voice vote was taken to allow this time."


                                                     Page 10                                                         Page 12

 1 A Yes.                                                       1    Do you know Dr. Hamby?
 2 Q Did you learn about any library controversies?             2 A I do.
 3 A The only controversy that I knew about was when it         3 Q How long have you known him?
 4 was brought up in the December meeting, December of 2022     4 A Several years.
 5 meeting at the Quorum Court.                                 5 Q Okay. How did you meet him?
 6 Q Did you attend that meeting?                               6 A I used to go to church with him, he's my doctor.
 7 A I did.                                                     7 Q Okay. Which church did you go to with him?
 8 Q Why don't we talk about --                                 8 A Butterfield Assembly.
 9           MR. ADAMS: Sam, just for ease, can we use          9 Q Does Dr. Hamby have any other roles, I guess, besides
10        the same exhibit numbers?                            10 being a local? I take it he's a physician?
11           MR. MCLELLAND: Okay.                              11 A Uh-huh.
12           MR. ADAMS: So I'm going to introduce a new        12 Q Does he have any other prominent local roles?
13        one, which I guess will be Exhibit 10.               13 A Not to my knowledge, no.
14   (Exhibit No. 10 was marked & attached hereto.)            14 Q Okay. Is he a member of the River Valley Elders?
15 BY MR. ADAMS:                                               15 A Not to my knowledge.
16 Q Let me show you Exhibit 10 , which the County produced    16 Q What do you remember about his presentation, just
17 in discovery in this case and it is the Quorum Court        17 from your memory or having your memory refreshed by these
18 Journal of Procedures for that December 19th, 2022          18 minutes?
19 meeting. If you wouldn't mind taking a look at that,        19 A Just from what I remember of it, when they were
20 please.                                                     20 speaking of some of these books that they disagreed with
21 A Okay.                                                     21 in the library, and it was my understanding, in the
22 Q So I guess maybe let's start at the end.                  22 December meeting when this was brought up, that it was
23 A Okay.                                                     23 about not necessarily homosexual content, but pornographic
24 Q It says Chris Keith, County Judge, and is that your       24 content.
25 signature on Page 30?                                       25 Q That is what you thought it was about, that it was


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 1 about pornographic content?                                   1 Q Okay. So what's the objection to this book, you
 2 A Yes, sir.                                                   2 know, as best as you can understand?
 3 Q Okay. Is that still your understanding about the            3 A I don't know. That's a question for Dr. Hamby and
 4 nature of the objection to the books?                         4 Ms. Hamby and not me. I'm not going to assume what their
 5 A At that meeting, yes, sir.                                  5 thoughts are.
 6 Q But as you sit here today, is that still your               6 Q Okay. What is Uncle Bobby's Wedding about?
 7 understanding about what they objected to?                    7 A It's about two gentlemen getting married.
 8 A What they objected to in that meeting, yes, I do.           8 Q Okay. Do you have any sense for how Dr. Hamby and
 9 Q Okay. Have you checked out any of the books? Not            9 Tammi Hamby feel about two gentleman getting married?
10 necessarily checked out in the sense of removed for          10          MR. MCLELLAND: Object to form.
11 circulation, but have you looked at any of the books that    11 A I assume they didn't like the book.
12 they were taking issue with at this time?                    12 Q Okay.
13 A No, I have not.                                            13 A Was that named in here? I see it.
14 Q Okay. Well, let's look to the next page then.              14 Q Let me pull out Exhibit 5. This is a letter from
15 A Okay.                                                      15 Dr. Hamby and Tammi Hamby addressed to the Quorum Court,
16 Q And about twelve sentences down, it says If You're a       16 the County Judge, and the County Judge Elect.
17 Drag Queen and You Know It, Pink Blue and You, The Meaning   17    So who would have been the County Judge Elect in
18 of Pride, The Big Book of Pride Flags, Uncle Bobby's         18 November of 2022?
19 Wedding and Bye Bye Binary.                                  19 A Me.
20    Did they say those book names there? Does that ring       20 Q Did you receive that letter in November of 2022? Was
21 a bell?                                                      21 that forwarded to you?
22 A I don't recall if they named them.                         22 A I don't know if it was in November, but I had seen it
23 Q Okay.                                                      23 at some point, yes.
24 A I'm sure they did if it's in the minutes.                  24 Q Had you seen it prior to this December meeting of the
25 Q Okay. So these books are currently in the Crawford         25 Quorum Court, as best you can remember?

                                                      Page 14                                                          Page 16

 1 County Social Section because our client went by this         1 A I do not recall if I seen it before that or not.
 2 morning and found them, or three of them, in the Van Buren    2 Q Okay. Well, I hate to make this last too long, but
 3 Branch, so I'm going to ask you to take a look at them.       3 we're going to talk about that a little bit too.
 4             MR. MCLELLAND: I'm just going to make a           4     This letter starts out with: "We are concerned about
 5         standing objection for the record that this case      5 the agenda that is being pushed by the Van Buren Public
 6         is a facial challenge of the statute and that         6 Library aiming education of alternative lifestyles to
 7         any questions beyond the four corners of Act 372      7 prepubescent children."
 8         is not relevant, impermissible and can't be           8     And then farther down in that paragraph, "Our issue
 9         considered, and that the Social Section is its        9 is with the constitutional rights of parents and our
10         own independent issue at play in the Western         10 religious liberties being infringed upon by this
11         District in front of Judge Holmes. Please,           11 progressive woke ideology normalizing and equating
12         continue.                                            12 homosexual and transsexual lifestyles with heterosexual
13 BY MR. ADAMS:                                                13 family units."
14 Q Okay. This book is Uncle Bobby's Wedding from the          14     So does that refresh your memory about the Hambys'
15 Van Buren Library. I'm going to ask you to quickly flip      15 views?
16 through it.                                                  16 A Yes.
17 A Do you want me to read it?                                 17 Q Do you recall having been made aware of those views
18 Q I guess read the words if you can skim them. We            18 before today?
19 don't want to necessarily take all afternoon, but I think    19 A Before today?
20 it's a short enough kid's picture book that it would only    20 Q Yes.
21 take less than five minutes to read.                         21 A Yes. I mean, I've seen the letter since then.
22 A Okay.                                                      22 Q Okay. The fifth paragraph says: "Exposing our
23 Q Okay. Having seen this book, is it your                    23 pre-pubertal children to colorful picture books equating
24 understanding now that this is pornographic?                 24 homosexual and transsexual behavior to and as normal as
25 A No, there's no porn in there.                              25 heterosexual parenting without the consent of the parents


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 1 subverts our God given rights as parents and discriminates    1 addressing that some of the books are new, some of them I
 2 against us based on our religious beliefs."                   2 ordered myself, but I also ordered books on men and women
 3     Is that what that says?                                   3 of God. I have, also, a whole bag of books that are
 4 A I see that, yes.                                            4 Christian and I consider myself a Christian as well."
 5 Q Okay. The following sentence says: "Our parental            5      This may not be an exact quote, but it says: "I --
 6 rights and religious liberties are being subverted by a       6 and I believe this is Deidre Grzymala speaking. "I did
 7 progressive woke ideology driven by the library director      7 have them take all the LGBT books out of the children's
 8 and her employees."                                           8 section and make an LGB section for itself, so families
 9     So let's talk about that for a minute. Who was the        9 who do want to checkout those books can go over there and
10 library director at the time?                                10 check them out, and for the ones that don't want to see
11 A Deidre Grzymala.                                           11 it, it's not in the children's section."
12 Q Okay. Do you agree with the Hambys that at the time,       12      Does that sound familiar?
13 in November of 2022, Ms. Grzymala was driving a              13 A I do not remember her saying that. The only thing
14 progressive, woke etiology?                                  14 that I knew that was said at that December meeting, was a
15 A I wouldn't say I agree. I didn't know that she was         15 compromise being made to move them to a different section.
16 or wasn't.                                                   16 I did not know she had already done it.
17 Q You just didn't know?                                      17 Q Okay. So what did you understand at the time when
18 A No.                                                        18 you were at that meeting?
19 Q Okay. And based on what you found out since then, do       19 A Well, my understanding at the time is, you know, even
20 you know whether she was or was not?                         20 though some of them may have been directed to
21 A No.                                                        21 homosexuality, that my understanding was that there was
22 Q Okay. Who else do you remember speaking at that            22 pornography in them too.
23 December 19th, 2022 meeting, just offhand?                   23 Q Okay. But you don't know which specific books that
24 A I don't. I mean, I just remember this discussion           24 was in reference to?
25 going on and I'm not sure who spoke or who didn't speak at   25 A I do not.


                                                      Page 18                                                         Page 20

 1 it.                                                           1 Q Okay. So would you say the Quorum Court had a role
 2 Q Do you remember Representative Fite speaking at it?         2 in the creation of the Social Section?
 3 A No. Like I said, that's been a year and a half ago.         3 A No.
 4 Q Yeah, we've slept since then.                               4 Q Who created the Social Section?
 5 A Yes.                                                        5 A Deidre Grzymala did.
 6 Q Turn to Page 27?                                            6 Q It was described as a compromise. So what were the
 7 A Okay.                                                       7 two positions that resulted in a compromise?
 8 Q You'll see 10 or 12 lines down where it says: "(10)         8 A They said that there needed to be a compromise made,
 9 Representative Charlene Fite. I am not here to speak as       9 you know, for people that didn't want their children to
10 an elected official, but as a mother, grandmother and        10 see it, and she took it upon herself to create the whole
11 citizen. To me the criteria here, is if my neighborhood      11 Social Section on her own without anybody overseeing her.
12 gave my child a book and I looked at that book and I         12 Q Particularly when we talk about compromise, we talk
13 thought this person is grooming my child, this person is     13 about one position and then a different position and then
14 trying to convince my child to do something that is not in   14 the two positions somehow meet in the middle.
15 my child's best interest. This is wrong and I'm going to     15 A Yeah.
16 take this to the law enforcement agency and show them that   16 Q So what were the two positions that were on the other
17 my child is being groomed. Why is that different than if     17 side?
18 the library that uses my money as a taxpayer gives my        18 A Well, if you're referring to what was told earlier,
19 child a book, which I consider grooming my child? There      19 there's a little discretion, is I never once heard anybody
20 is a difference between fiction and nonfiction and a         20 say banned books. The only thing I heard say was there
21 difference between information and advocacy."                21 needed to be a compromise made.
22     Do you recall her saying that?                           22 Q When you talked about earlier, you were at the latter
23 A Vaguely.                                                   23 portion of the deposition earlier of Ms. Eva White?
24 Q Okay. So farther down that page, Deidre Grzymala,          24 A Correct.
25 the Director of the Crawford County Library System, spoke    25 Q And we talked about this very issue?


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 1 A Correct.                                                   1 Q Okay. And your understanding, as of December 19,
 2 Q What the two sides were that were being compromised        2 2022, was that some of that was being moved to the adult
 3 on?                                                          3 section?
 4 A Correct.                                                   4 A Correct.
 5 Q And what did you hear Ms. Eva say?                         5 Q I guess that's where I got confused, because if you
 6 A That they were -- that they wanted some of the books       6 think it's something like a Playboy --
 7 removed and that there was a compromise made to move them    7 A It was moved to a different section, yes, whatever
 8 to a different section instead of removing them.             8 that section would be.
 9 Q Okay. But your understanding at the time was that          9 Q What you have in mind is something like a Playboy,
10 there was actual pornography in the library?                10 which is pornographic --
11 A Yes.                                                      11 A Playboy, animated porn, whatever you --
12 Q Should there be actual pornography anywhere in the        12 Q Okay. Well, whatever it is, a visual representation
13 Van Buren Library?                                          13 of --
14           MR. MCLELLAND: Objection. Calls for an            14 A Correct.
15        opinion.                                             15 Q -- sexual activity?
16 BY MR. ADAMS:                                               16 A Yes, that's correct.
17 Q I would like your opinion about that.                     17 Q I guess I'm confused by based on what you're
18 A Not for children, no.                                     18 expressing your views of what ought to be happening in the
19 Q What about for adults?                                    19 library. Why is just moving that from the children's
20 A That's their own discretion as an adult.                  20 section to the adult section a satisfactory compromise if
21 Q Okay. When you say something is pornography, does         21 it doesn't have any place in a library?
22 that, in your mind, involve meeting a constitutional        22 A That was their compromise at the time, not mine.
23 standard for obscenity?                                     23 They made the compromise to move it away from the
24           MR. MCLELLAND: Objection, to the extent it        24 children's section, so children could not get ahold of it
25        seeks a legal opinion. You can respond.              25 without parental supervision.


                                                     Page 22                                                         Page 24

 1 A I don't understand the question.                           1 Q When you became the County Judge, did you investigate
 2 Q Do you know the legal definition of obscenity?             2 that further?
 3 A When I speak of pornography, I'm talking about             3 A No.
 4 pornographic pictures that people can see.                   4 Q Why?
 5 Q It's difficult to define pornography famously, but do      5 A Because that's the Library Board's position to do
 6 you have a definition?                                       6 that.
 7 A Of unclothed people doing sexual acts.                     7 Q Okay. In your view is there a distinction to be made
 8 Q Okay. Could it be a description of that in words?          8 between younger minors and older minors, so something
 9 It wouldn't have to be a picture to be pornography.          9 could be out of reach to a young child, say a
10 A What I'm speaking of is pictures.                         10 ten-year-old, but that might be appropriate to give or to
11 Q Okay.                                                     11 lend or to let them look at in the case of like a
12 A Can I add something to that?                              12 seventeen-year-old?
13 Q Sure, go ahead.                                           13            MR. MCLELLAND: Object to the extent that
14 A When I say that it's at their own discretion, I'm not     14        it seeks an opinion. You can respond.
15 talking about pictures for adults. There should not be      15 A I think if a child is still living in your home, 18
16 any pornographic Playboy or anything like that in the       16 or younger, then you should have a parental right to let
17 libraries.                                                  17 them see that or not.
18 Q Okay. So what --                                          18 Q So you wouldn't draw a distinction between the ten
19 A I'm saying if it's a romance novel or something that      19 and the seventeen-year-old for the purpose of what we're
20 has it --                                                   20 talking about here?
21 Q Okay.                                                     21 A No.
22 A -- that's at the adult's discretion.                      22 Q Okay. Setting aside all the legality with the Virden
23 Q Okay. But you understood there was pornography in         23 lawsuit and everything to do with the Constitution, do you
24 the children's section of the Van Buren Library?            24 think the Social Section is a good compromise to the
25 A That was my understanding.                                25 dispute that was going on when you took office?


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 1 A I don't know that it's a good compromise, but it was        1 Q And what was discovered during the week?
 2 a compromise made at the time for the constituents of the     2 A That there was none.
 3 County, is my understanding, and now we are where we are      3 Q Okay. So the grant was accepted and the doors were
 4 with the situation.                                           4 put in?
 5 Q Which is where?                                             5 A Yes, sir.
 6 A In a lawsuit over it.                                       6 Q Okay. Thank you.
 7 Q Fair enough. Do you believe that you have the right         7 A Yes.
 8 to tell the library director to do something with respect     8 Q Have you ever personally visited the Social Section?
 9 to the books in the library?                                  9 A No.
10 A No.                                                        10 Q Who made the claim that led you to the understanding
11 Q Do you have the right to fire the library director?        11 that there was pornography in the children's section?
12 A No, that's the Library Board's position.                   12 A That was just my understanding from the conversation
13 Q Okay. Do you have funding responsibilities for the         13 that was made at the December meeting.
14 library?                                                     14 Q Okay. Did you have that understanding before the
15 A We do, the Quorum Court does.                              15 December meeting?
16 Q Does that funding responsibility come with authority       16 A No, sir.
17 to exercise it in a manner consistent with your              17 Q Okay. And you don't remember who made those claims
18 constituents' wishes?                                        18 specifically; it was just the general impression that you
19 A The Quorum Court has that authority. I have no vote        19 got?
20 on the Quorum Court. I'm just the Chairman.                  20 A Yes, sir.
21 Q Okay. Does the Quorum Court have the responsibility        21 Q Did you find those claims credible? I mean, did that
22 to exercise its funding authority in a way that expresses    22 seem likely to you, that if you walked into the children's
23 the values of the people of Crawford County?                 23 section of the Van Buren Library, that you would find --
24 A Yes.                                                       24 A I assumed, from what I understood from it, that it
25 Q Can you vote to break a tie?                               25 was a possibility, yes.


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 1 A Yes, but then it only takes two-thirds of the council       1 Q So you believed that might be the case?
 2 to overturn my veto.                                          2 A Right.
 3 Q Has that happened yet?                                      3 Q Okay. Let's go back to the Hambys. So you said
 4 A No, sir.                                                    4 you've known Dr. Hamby for a while and he's been your
 5 Q Okay. If you asked the Library Board to make a              5 personal physician?
 6 policy change, do you think they would?                       6 A Yes.
 7 A I think they would take it under advisement, maybe.         7 Q And you knew him from church?
 8 Q So could the Quorum Court cut the budget of the             8 A Yes.
 9 Crawford County Library?                                      9 Q And you've known him for about how many years?
10 A Cut it, no, but they could vote to not appropriate         10 A I don't know, several; ten, twelve years.
11 certain funds.                                               11 Q I mean, how well do you know him? Do you see him
12 Q Has that possibility ever come up in any of the            12 once a month, once a week?
13 meetings you've been a part of?                              13 A Every six months.
14 A Only with the ALA grant, and as soon as that               14 Q So you're not close friends, but you're known to each
15 happened, then I called an emergency meeting the very next   15 other?
16 week to get it corrected.                                    16 A Right.
17 Q Okay. While we're on that, just tell me that story;        17 Q Like would his cell number be in your cellphone?
18 what happened in your own words?                             18 A No, I do not have his cellphone number. I have his
19 A Well, they -- they voted to table the issue until          19 office number.
20 they got more information on the specifics of the grant.     20 Q What about Tammi?
21 Q Okay. What was the concern?                                21 A I do have Tammi's.
22 A That there was certain obligations that were               22 Q As of roughly when?
23 connected with the grant.                                    23 A When she was being requested for me to put her on the
24 Q Okay. And the grant was to do what?                        24 Library Board.
25 A Put electric doors in the Alma Library.                    25 Q I'm going to ask you to say that question again, not


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 1 in a passive voice. Who requested that she be put on the      1 Valley City Elders. Do you know about that group?
 2 Library Board?                                                2 A Very little about them.
 3 A A constituent of the County.                                3 Q Do you know who their leadership is?
 4 Q Did you know much about Ms. Hamby, besides what she         4 A No, I do not.
 5 said in that letter and at the December 19th, 2022 Quorum     5 Q Are they based in this County, because River Valley
 6 Court meeting?                                                6 seems like a broad, geographic designation to me, so I
 7 A Such as?                                                    7 don't know?
 8 Q Like I mean, literally anything? Had you socialized         8 A To my understanding they usually have their meetings
 9 with her, knew her hobbies, general habits --                 9 in the Fort Smith area.
10 A No.                                                        10 Q Okay. Do you know how often they meet?
11 Q -- anything like that?                                     11 A I do not.
12 A No.                                                        12 Q So when you were campaigning for the County Judge
13 Q Okay. So I guess you went to church with her and her       13 position, for example, did you speak to them?
14 husband for a while?                                         14 A I did on one occasion. They asked me to come have a
15 A Correct.                                                   15 forum, yeah.
16 Q Okay. Did you know anything about her professional         16 Q So, roughly, was that in the spring of '22, something
17 background?                                                  17 like that?
18 A Not other than running their business.                     18 A Yeah.
19 Q What is their business?                                    19 Q Tell me about the forum.
20 A A physician's business.                                    20            MR. MCLELLAND: I'm going to object that
21 Q Okay. So Ms. Hamby works in that business, too?            21        this is beyond the scope of the Social Section,
22 A Correct.                                                   22        the Act 372. I don't know what --
23 Q Did she contact you with her interest in the position      23            MR. ADAMS: Okay. I'll move on pretty
24 or did someone else recommend her? I'm still a little        24        quickly, but I would like to hear about the
25 vague.                                                       25        forum.

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 1 A I don't remember who it was, but someone else               1 A Oh, they just asked, as in any forum, you know,
 2 recommended her and I contacted her.                          2 what -- what your political opinions would be in certain
 3 Q Okay. And you called her and asked if she was               3 areas. There was no nothing out of the question, though.
 4 interested?                                                   4 Q What do you mean by out of the question?
 5 A Correct.                                                    5 A Well, I mean, like radical or anything.
 6 Q And tell me about that conversation. What did you           6 Q Specifically did anything come up about the library?
 7 all talk about?                                               7 A No.
 8 A She just said, yes, she would be interested in              8 Q So it wasn't a topic of conversation at that forum?
 9 filling the position for the Van Buren Board.                 9 A No, sir.
10 Q Was that before or after that December meeting?            10 Q Okay. So who invited you the to the forum, I guess?
11 A It was after.                                              11 A A gentleman named John Riordan.
12 Q So I guess we heard from Ms. White earlier today.          12 Q Is he someone you knew before?
13 After that December 12th meeting, three of the five          13 A I just know him from coming to some of the Quorum
14 members of the Board resigned?                               14 Court meetings. That's all I know of him.
15 A Correct.                                                   15 Q Okay. How many people were at that forum, roughly?
16 Q Did they tell you why they resigned?                       16 A I don't know; 40, 50-ish.
17 A No. The only one that I spoke to specifically about        17 Q Was it men and women?
18 it was Ms. Balkman at the time, and she was resigning just   18 A Yes.
19 because she was catching so much grief from different        19 Q Okay. What about Ms. Hamby made you think she was a
20 people over the position.                                    20 good candidate for the Library Board?
21 Q Okay.                                                      21 A I just knew of them being business people in the
22 A So, yeah, within my first ten days of office, this         22 community, and as far as having to deal with the money and
23 was thrown in my lap.                                        23 stuff, that I felt like she would be a good administrator
24 Q Yeah. There are a lot of references in the media           24 as far as money.
25 reports about this and by Ms. White today, about the River   25 Q Okay. Were there concerns about dealing with money?


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 1 A No. I mean, not to my knowledge before. Like I say,         1 A Uh-huh.
 2 this was in my first 10 days, so.                             2 Q Did you report that to the authorities?
 3 Q Okay. Again, I sort of apologize for jumping around.        3 A No.
 4 A No, you're fine.                                            4 Q Is any of the evidence that Ms. Grzymala oversaw
 5 Q What's your understanding about why Deidre Grzymala         5 misappropriation of library money something that I could
 6 left the position of director of the libraries?               6 find in any written document anywhere?
 7 A I don't really know where that agreement come. That         7 A No, not to my knowledge.
 8 was between their attorney at the time and the board          8 Q How many people would know that?
 9 chairman and her.                                             9 A I'm sure the library director now would know it or
10 Q The board chairman was who?                                10 the library board.
11 A Tammi Hamby.                                               11 Q And did you ever write Ms. Grzymala a job
12 Q And you never got a report on why it is the director       12 recommendation after she left?
13 of the library resigned less than a year into her term?      13 A I did, but I don't recall who it was to.
14 A Not any specifics, no.                                     14 Q Was it a positive recommendation?
15 Q Well, did you get any general sense for why?               15 A Yes.
16 A I was just under the impression that that was the          16 Q If you just signed a 47 or $48,000 severance check to
17 agreement that they came up with because of everything       17 her to avoid litigation, with the understanding that she
18 that was going on, that they agreed that she would move      18 may have or did, in fact, misappropriate money from the
19 on.                                                          19 library, can you help me understand why you would have
20 Q But if she was being asked to leave, essentially that      20 written her a positive job recommendation?
21 would indicate some dissatisfaction with her performance     21 A Because that was part of the agreement.
22 on the part of the board, or the board chairman, as you      22 Q It was part of the agreement?
23 specifically say.                                            23 A Yes.
24     Did the Board Chairman, Ms. Hamby, ever explain to       24 Q That you would give her a positive job
25 you why she was dissatisfied with Ms. Grzymala's             25 recommendation?


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 1 performance?                                                  1 A Yeah, that she would leave with that severance pay if
 2 A Well, I think that -- from my understanding, that --        2 I would give her a good recommendation.
 3 after looking into things in the past, there were some        3 Q Okay. Do you know if Ms. Grzymala was ever
 4 discrepancies, as far as looking at misuse of money and       4 confronted with these accusations or any evidence that she
 5 stuff, and to my understanding we had grounds to terminate    5 misappropriated any money?
 6 her, but she had already threatened legal against us, so      6 A I do not know. I did not confront her.
 7 this was the compromise or solution they came up with, for    7 Q Well, who did you learn about that from at the time?
 8 her to leave, instead of spending thousands and thousands     8 A From the library board chairman.
 9 on legalities.                                                9 Q So Ms. Hamby told you that?
10 Q Okay. I mean, how much was the severance?                  10 A Correct.
11 A Forty something. I don't know right off the top of         11 Q Did you learn about it from anybody else?
12 my head; 47, 48,000.                                         12 A No.
13 Q And that seemed like a better deal than fighting her       13 Q Did Ms. Hamby show you any documents to provide
14 on leaving, is what you're saying?                           14 details on what --
15 A Uh-huh.                                                    15 A No.
16 Q Did you get to the bottom of what the financial            16 Q Who were the other two people that you appointed, in
17 discrepancies were that apparently would have given --       17 January of 2022, to the Library Board?
18 A I think it was just some -- from my understanding it       18 A Kaelin Schaper in Alma and Amanda -- I cannot
19 was misuse of credit cards and stuff, just some of the       19 remember her last name in the Cedarville area.
20 funding being used for wrong things.                         20 Q Okay. How did you know them? Let's start with
21 Q Misuse of the credit card, meaning what; like for her      21 Kaelin Schaper.
22 personal expenses?                                           22 A They were referenced by constituents as well. I did
23 A Not necessarily just hers, but for others that was         23 not know them.
24 using it for gas and stuff.                                  24 Q Do you remember which constituents?
25 Q Well, that sounds like a crime.                            25 A I do not.


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 1 Q Did you talk to anyone at the library about these           1 Q Okay. Why did it have to get changed from the County
 2 recommendations before you made -- before you appointed       2 General Fund to the Library Fund specifically?
 3 any of the three of those folks to the board?                 3 A After speaking with the county treasurer and the
 4 A No.                                                         4 country clerk, they said that's where she is paid from,
 5 Q Okay. Have you since consulted the library director         5 from the library fund, and that's where it needed to come
 6 or any of the incumbent board members or anyone else at       6 from.
 7 the library about board selection?                            7 Q Okay. Fair enough.
 8 A Just recently. I mean, they asked me to extend a            8     Let's go back and talk about the Social Section a
 9 board member to a second term.                                9 little bit. So we talked about how it was created.
10 Q Who is that board member?                                  10 What's your current understanding of what kind of books
11 A I can't think of their --                                  11 are in it?
12 Q So when you say they asked, is it the other board          12 A Well, when it was created by a certain someone, it
13 members asked you to extend one of their own?                13 was created -- directed towards LGBTQ books.
14 A No, the library director.                                  14 Q Okay. Is it your understanding that the books in
15 Q The library director. So who is that director?             15 this section are in favor of acceptance of LGBTQ people or
16 A Ms. Eva and Charlene, the new director.                    16 critical of LGBTQ people?
17 Q Okay. And did you accept that recommendation?              17 A Rephrase the question. I don't understand what you
18 A I did.                                                     18 said.
19 Q Okay. Where did the money for Ms. Grzymala's               19 Q Are the books in the Social Section generally
20 severance come from?                                         20 positive or negative about LGBTQ?
21 A The library.                                               21 A As far as the community or?
22 Q The library fund?                                          22 Q No, I'm talking about the book themselves.
23 A Correct, yes.                                              23 A Well, I would say that it's in favor of them, of it.
24 Q Okay. Which is -- which is provided by --                  24 Q So, for example, one that came up at the library,
25 A The millage.                                               25 Uncle Bobby's Wedding, you looked at it earlier?


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 1 Q -- the dedicated library property tax millage?              1 A Yeah.
 2 A Yes.                                                        2 Q Would you say that's generally normalizing gay
 3 Q I think we have a document to help us understand            3 couples?
 4 that, so we'll put that in.                                   4 A Yes.
 5            MR. ADAMS: So this is 11.                          5 Q All right. Why don't we -- I'd like to take a break.
 6   (Exhibit No. 11 was marked & attached hereto.)              6 A Okay.
 7 BY MR. ADAMS:                                                 7 Q And while we are on our break, please take a look at
 8 Q Okay. So this is the February 21st, 2023 Quorum             8 these other two books I brought.
 9 Court Journal of Procedures signed on March 14th. If you      9          (Brief recess was taken.)
10 don't mind, take a look at that and confirm that we got      10 BY MR. ADAMS:
11 the right one.                                               11 Q Okay. So, Judge Keith, while we were on break did
12 A I'm sure it is, yeah.                                      12 you have a chance to look at Bye Bye Binary and The Big
13 Q Okay. So on Page 38, Item 5, it says Ordinance No.         13 Book of Pride Flags?
14 2023-11, "An Ordinance Providing Payment of Severance to     14 A Yes, I did.
15 the Director of the Crawford County Library System; and      15 Q And did you find any pornography in those books?
16 For Other Purposes. On motion by Justice Shaffer to amend    16 A No, I did not.
17 and read by title only (to change the payout fund from the   17 Q Okay. Thank you.
18 County General Fund to Library Fund 3008 and to pay          18    Okay. Judge Keith, I am showing you what we've
19 Mrs. Grzymala's health and dental benefit premiums thru      19 previously marked as Exhibit 1 in Eva White's deposition.
20 September 1, 2023, also out of Library Fund 3008.) First     20 This is a copy of Act 372 of 2023.
21 by Justice Peppas, second by Justice Morgan. It was read     21    Do you see it says, in the upper left, "State of
22 by title only as amended."                                   22 Arkansas, 94th General Assembly, Regular Session, 2023,
23    So there was no discussion and then it passed. Does       23 and By Senators D. Sullivan, Stone"?
24 that all sound correct?                                      24    Do you know Senator Sullivan?
25 A Yeah.                                                      25 A I do not.


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 1 Q You've never met Dan Sullivan?                              1 understand that if a library review committee denies a
 2 A No, sir.                                                    2 book challenge, meaning a request to move a book to an
 3 Q Okay. What about Representative Gonzalez, have you          3 area that's inaccessible to minors under the age of 18,
 4 ever met him?                                                 4 the person that challenged the book can appeal to, quote,
 5 A No, sir.                                                    5 "The executive head of the governing body of the county,"
 6 Q What about Representative Bentley, have you ever met        6 right?
 7 her?                                                          7 A Yes.
 8 A No, sir.                                                    8 Q So who is that in the case of Crawford County?
 9 Q Okay. What about Current State Library Board Member,        9 A Well, the executive head would be myself.
10 Jason Rapert, have you ever met him?                         10 Q Okay. Let's look at the statute there. We're on
11 A No, sir.                                                   11 Page 9 of the Act that passed. We're looking at 9,
12 Q Okay. Have you ever had any communications with any        12 starting at Line 15, and I'll read it and you can tell me
13 of those people I just mentioned?                            13 if I read it correctly.
14 A No, sir.                                                   14     "If a person appeals the decision of a committee
15 Q Okay. You've never talked to them on the phone or          15 under this subdivision (c)(12), the executive head of the
16 emailed with them or anything?                               16 county or city shall present the material being
17 A No, sir.                                                   17 challenged, the request submitted by the person under
18 Q Okay. So what's your impression of what this lawsuit       18 subdivision (c)(5) of this section, the committee's
19 is about, the Fayetteville Public Library versus Crawford    19 decision under subdivision (c)(11)(A) of this section, and
20 County?                                                      20 the summary prepared under subdivision (c)(11)(B) of this
21 A Well, my impression -- which I've not read through         21 section to the governing body of the county or city within
22 the whole thing, but my impression was on Section 1 and 5.   22 fifteen days of the committee's decision."
23 Q Right. So what are we, on the Plaintiffs' side,            23     All right. Do you know what all that means?
24 asking?                                                      24 A Well, they would bring it to me and then I would have
25 A I don't remember which is which, but I know one, you       25 to give it to the committee to make a decision on the book


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 1 know, that you could hold directors criminally responsible    1 challenge.
 2 for giving children certain materials, and then the other     2 Q You'd have to bring it to who to make a decision on
 3 one was if a book was challenged and it didn't get the        3 the book challenge?
 4 approval, then it would come to myself and to the Quorum      4 A I'm assuming the Quorum Court.
 5 Court to make the determination on it.                        5 Q Okay. And what all do you have to give the Quorum
 6 Q Okay. We're going to get into Section 5 about that          6 Court when they're making the decision?
 7 whole procedure in some detail, but let me pause on           7 A I'm assuming just the challenge and I don't know what
 8 Section 1 for a second.                                       8 all you'd have to give them.
 9 A Okay.                                                       9 Q Well, it says the material being challenged.
10 Q Are you aware of any criminal investigation of anyone      10 A Okay. So I'd have to give them a copy of the
11 for violating Section 1?                                     11 material being challenged.
12 A No, sir.                                                   12 Q Okay. A request submitted by the person, so that's
13 Q In the course of discussions about this, have you          13 what's the challenger thinks should happen and why.
14 heard anyone say that anyone ought to be criminally          14 A Okay.
15 investigated for this?                                       15 Q The committee's decision. So could you be receiving
16 A No, sir, other than just giving certain content to         16 a decision to move something to the area that's
17 minors, but my understanding was it was pornographic         17 inaccessible to minors under the age of 18?
18 material to minors.                                          18 A I'm assuming you could be.
19 Q Did you hear any specific accusations that that had        19 Q I guess as I read this statute, if the library
20 been done here in Crawford County?                           20 committee decides to move it to an area inaccessible to
21 A No.                                                        21 minors under the age of 18, there's no appeal?
22 Q Okay. So you don't know -- you didn't hear anybody         22 A Okay. You've probably read more into this than I
23 accuse anybody else of giving harmful-to-minors material?    23 have, so you tell me the law.
24 A No, sir.                                                   24 Q It's possible. A summary prepared under subdivision
25 Q All right. Let's go on to Section 5. So you                25 (c)(11)(B) of this section to the governing body, so


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 1 that's, you know, the summary of the decision that the        1 book moved and if the Quorum Court decides to move that
 2 library committee made.                                       2 book, is there any appeal set forth in the statute?
 3     And then it says in Subpart 2 there, "In addition to      3 A Not that I see in this section, no.
 4 the information required to be provided under subdivision     4 Q Okay. Have you ever worked in a library yourself?
 5 (c)(12)(B) (i) of this section, the executive head of the     5 A No, sir.
 6 county or city receiving may also include his or her          6 Q Has any other member of the Quorum Court, to your
 7 recommendation regarding the appeal submitted under this      7 knowledge, worked in the library?
 8 subdivision (c)(12)."                                         8 A Not to my knowledge.
 9     Does that make sense?                                     9 Q Okay. I guess you said you haven't visited the
10 A Yes, sir.                                                  10 Social Sections of the library; is that correct?
11 Q Okay. So let's say Act 372 went into effect and            11 A That's correct.
12 there were book challenges. So this would be your role to    12 Q Have you visited the libraries at all since you took
13 essentially present the issue to the Quorum Court and you    13 office?
14 could make your own recommendations, right?                  14 A The only one that I visited was the Alma Library when
15 A Right.                                                     15 they were -- when they tabled about the ALA grant for the
16 Q Essentially to move the book or not move the book,         16 door. I went to look at the doors there.
17 right?                                                       17 Q Okay. What did you learn?
18 A Uh-huh.                                                    18 A I learned that they needed electric doors in there.
19 Q Okay. It says: "The members of the governing body          19 Q And they got it?
20 of the county or city shall review the information           20 A They did.
21 submitted to them under this subdivision (c)(12) and shall   21 Q Okay. Let's kind of back up. Now, that we've set
22 make a decision on the appeal within 30 days of receiving    22 forth the process for what would happen if this law goes
23 the information."                                            23 into effect, what is this whole Section 5 challenge about?
24     Now, is there anything in there that requires the        24 So turn back to Page 7, if you would, please, and follow
25 members of the Quorum Court to read the entirety of a book   25 with me on Line 17.


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 1 before making a decision about whether or not it would be     1     "A person affected by the material to be challenged,
 2 moved?                                                        2 or an employee of the county or municipal library may
 3 A I don't see anything specific about that. You're            3 challenge the appropriateness of material available in the
 4 just supposed to provide them with the materials.             4 county or municipal library."
 5 Q Okay. Say it was a, you know, a novel of good               5     What do you think makes a book appropriate or
 6 length, a two or 300-page novel, it could even be a YA        6 inappropriate to be in the library's main collection?
 7 novel that's relatively easy to read, in terms of its         7           MR. MCLELLAND: Objection to the extent it
 8 vocabulary and things of that nature.                         8        seeks an opinion. Go ahead.
 9     Is 30 days a reasonable amount of time to expect all      9 A I don't know. That's a different thing for different
10 the members of the Quorum Court to have formed an informed   10 people.
11 judgment about whether or not that book ought to be moved?   11 Q What is it for you?
12 A If they read fast.                                         12 A I don't go to libraries, so it's nothing for me.
13 Q Okay. How often does the Quorum Court meet right           13 Q Why do you think the legislature of Arkansas wanted
14 now?                                                         14 to give you a unique role in making recommendations,
15 A Once a month.                                              15 public recommendations about whether books should be in a
16 Q Have you ever had to table a discussion because the        16 library's main collection?
17 members were not prepared to address the issue because       17           MR. MCLELLAND: Object to form.
18 they wanted to read up more on it?                           18 A I think that's because the Quorum Court is the head
19 A Yes.                                                       19 of the county, so they seen it fit that that's where it
20 Q Does the Quorum Court have particularly busy times of      20 needed to go to beyond the library board.
21 year when it's hard to get through all the paperwork that    21 Q And the members of the Quorum Court have an up or
22 it needs to do?                                              22 down vote, right?
23 A The end of the year budget time.                           23 A Yes.
24 Q Okay. As far as you understand it, is the Quorum           24 Q And you have, perhaps, also, an up or down vote, in
25 Court's decision final? If someone is trying to get a        25 that you make a recommendation in a sense, right?


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 1 A Yeah, but I wouldn't.                                       1     So if this book got challenged -- say we lose this
 2 Q You wouldn't ever make a recommendation about a book?       2 lawsuit, Act 372 goes into effect, somebody challenges
 3 A No, I have no vote and that's their discretion to           3 this book. It's already happened, so it's not a crazy
 4 decide that.                                                  4 hypothetical to assume someone would do it again, and then
 5 Q But the statute explicitly gives you the right to           5 the library committee said, no, we think that's a fine
 6 chime in?                                                     6 kid's book and it can stay where it was before last year,
 7 A Sure.                                                       7 in the kid's section of the Van Buren Library, instead of
 8 Q And you're elected as the chief executive of the            8 over in the adult section, or if Act 372 goes into effect,
 9 whole county, right?                                          9 more segregated than it is now, right, like in a place
10 A Uh-huh.                                                    10 where kids couldn't get to it?
11 Q And we talked about earlier, how because you're            11 A Right.
12 elected by the whole county to be the chief executive,       12 Q So then that decision came to you and you -- in that
13 that reflects a mandate, right?                              13 case do you think you would simply pass this book along
14 A Right.                                                     14 with the librarian's recommendation that it stay in the
15 Q That you would expect -- people, in turn, would            15 children's section, or would you make a recommendation
16 expect you to reflect certain things that they want to see   16 about whether it stays in the children's section or it
17 done, right?                                                 17 gets put in the area inaccessible to minors under the age
18 A Right.                                                     18 of 18?
19 Q Is book selection not one of those things?                 19            MR. WATSON: Object to form.
20 A Book selection could make you or break you.                20 A I would give it to them and let them make their
21 Q Explain that.                                              21 recommendation on it.
22 A That means it's best just to let the Quorum Court do       22 Q Okay. And based on that December 2022 meeting, do we
23 their position on it.                                        23 have any sense for how that vote might go?
24 Q That's a lot of let this cup pass from me --               24 A Not overall. I've only seen a couple of different
25 A Yeah.                                                      25 JPs' names in here and there's 13 of them.


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 1 Q Fair enough.                                                1 Q Okay. Do you think there's any way for the library
 2           MS. BROWNSTEIN: You probably have the               2 staff to predict, in that case, what the Quorum Court is
 3        makings -- off the record.                             3 going to decide about a book being appropriate or
 4         (Off-the-record discussion.)                          4 inappropriate?
 5 BY MR. ADAMS:                                                 5            MR. MCLELLAND: Object to form.
 6 Q So, Judge, is it your testimony that if Act 372 goes        6 A I don't think they could predict it. They could
 7 into effect, you don't plan to ever make a recommendation     7 probably assume with their own opinions.
 8 about whether a book stays in --                              8 Q But I guess by predict I mean --
 9 A I'm not saying -- I'm not saying I never would, but         9 A And that's what a lot of these questions are, is pure
10 chances are, for the most part, I probably wouldn't,         10 assumption.
11 unless I just felt really compelled.                         11 Q Okay. Fair enough. But I just mean better than a
12 Q Okay. Well, let's just talk about one of these             12 coin flip. If they're trying to essentially save the
13 because it took you two minutes to read this book and we     13 Quorum Court a lot of work by putting books where the
14 talked about what seems to me, anyway, and you can tell me   14 Quorum Court is going to want them to go at the end of the
15 if you disagree, the only really relevant thing about this   15 day, they're going to make their own assumptions.
16 book, for the purposes of its placement, is that it          16    Is that going to be better or worse than a coin flip,
17 normalizes gay marriage?                                     17 based on just what they know about the values of the
18 A Uh-huh.                                                    18 people in the Quorum Court?
19 Q If you substituted -- if Uncle Bobby, in Uncle             19            MR. MCLELLAND: Object to form.
20 Bobby's Wedding, was marrying a woman, would this book be    20 A I'm sure they would take that into consideration when
21 in the Social Section?                                       21 they make their decision.
22           MR. MCLELLAND: Objection; form.                    22 Q So they would take -- they would take what into
23 A Not in the way that the director set it up, no.            23 consideration? When you say "that," can you flush that
24 Q Okay. Just in terms of everybody's commonsense, I          24 out for me?
25 think that seems apparent.                                   25 A What you just said, you know, what they feel like the


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 1 Quorum Court would vote on it.                                 1 Q I mean, again, it's your judgment about what's
 2 Q And what evidence would they have to try to determine        2 appropriate, is what this statute calls for.
 3 what the Quorum Court would --                                 3 A I mean, I don't know. I mean, if this passes and the
 4 A I don't know.                                                4 time that it comes, then I don't know what the decision
 5            MR. WATSON: Object to form.                         5 will be at that time. I don't know what people would
 6 BY MR. ADAMS:                                                  6 consider appropriate and not appropriate.
 7 Q Okay. So you don't have a personal opinion about             7 Q Okay. Fair enough. I guess my question about the
 8 whether this book is appropriate for children?                 8 ages, is, again, it's not about pornography. It's just
 9            MR. MCLELLAND: I want the record to                 9 about do you think there could be a difference between
10        reflect he's showing Uncle Bobby's Wedding.            10 what's appropriate for a seventeen-year-old and what's
11 BY MR. ADAMS:                                                 11 appropriate for a ten-year-old?
12 Q Oh, yep, I'm still showing Uncle Bobby's Wedding.           12     I'm not talking about pornography. I'm just saying
13 A No.                                                         13 is your judgment about whether a book is appropriate, in
14 Q Okay. So now you think it's appropriate, nor                14 the sense that Section 5 means it --
15 inappropriate, you just don't have an opinion?                15 A Right.
16 A Right.                                                      16 Q -- that you have to make a judgment about whether
17            THE WITNESS: Back to your comment.                 17 something should be accessible to minors under the age of
18            MS. BROWNSTEIN: Yeah.                              18 18.
19 BY MR. ADAMS:                                                 19 A Do I think there's a difference?
20 Q When we were discussing pornography a little earlier,       20 Q Well, could there be a difference, or is it just, in
21 you said something similar to what the Arkansas Supreme       21 your mind, like it was with the pornography --
22 Court has said, which is that all minors are going to get     22 A In general or under my roof?
23 treated equally, anybody under 18 shouldn't have access to    23 Q Well, I mean, I guess as to your judgment about where
24 anything that's -- I think in that context we were talking    24 things ought to be in the library.
25 about pornography, right?                                     25 A I think your child is your child until 18 and they're


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 1 A Right.                                                       1 living under your roof and you need to make judgment calls
 2 Q Is it possible that appropriateness under this               2 for them children, whether it be 10 or 17.
 3 Section 5 process would be different? Like could there be      3 Q Okay. But in terms of where books are in the
 4 a book that you think is appropriate for a ten-year-old,       4 library, I guess it -- there are specific decisions to be
 5 but not for a seventeen-year-old?                              5 made often about where in the library books go, right, and
 6 A I think it all depends on what you describe as               6 if Act 372 goes into effect, there's two places books can
 7 pornography. I mean, there's no definition in here.            7 be in the library, just where they are now, where we heard
 8 Q There's no definition of pornography and I'm not             8 testimony today, generally available to anyone. In the
 9 aware of any definition of appropriate either.                 9 normal course of affairs, anybody can just walk around,
10 A Yeah.                                                       10 right?
11 Q So ultimately the statute just means that appropriate       11 A Right.
12 means what the Quorum Court thinks it means. So you get a     12 Q Obviously young minors have to be attended, but if
13 recommendation about that, so your opinion matters, and       13 you're an eleven-year-old you can just walk around the
14 none of the rest of ours does, frankly.                       14 library and look at whatever book you want?
15 A Okay.                                                       15 A Yeah.
16 Q That's the way the statute works.                           16 Q Or Act 372 provides for the creation of places in the
17           MR. WATSON: Object to form;                         17 library that are inaccessible to minors under the age of
18        mischaracterizing the statute.                         18 18?
19 BY MR. ADAMS:                                                 19 A Uh-huh.
20 Q Is it possible that a book could be appropriate --          20 Q So the Quorum Court and you would be faced with the
21 again, I'm not talking about pornography anymore. I'm         21 possibility of making a recommendation of the Quorum
22 talking about appropriate, which means something              22 Court, if you saw fit --
23 different, I think, unless you want to tell me that you       23 A Of a book challenge?
24 think appropriate here means non-pornographic?                24 Q Right.
25 A Well, what's defined as appropriate?                        25 A Okay.


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 1 Q Would be making a decision about whether to put a             1 law?
 2 book behind that desk or in that locked room or whatever        2 A No, I have not.
 3 that makes it inaccessible to minors under the age of 18,       3 Q Is that because you think we're going to win?
 4 right? Are you still with me?                                   4 A No. No, honestly until you just said that, I haven't
 5 A Uh-huh.                                                       5 thought of that aspect of it.
 6 Q So I guess one of the quirks about the law that I'm           6 Q Okay. But you might now?
 7 trying to figure out how you would approach, as a               7 A Yes.
 8 policymaker under this statute, is is it possible that you      8 Q Okay. Look, I mean, it's an honest -- I wasn't
 9 would look at a book and say, well, it's appropriate in my      9 trying to be flippant.
10 view for this book to be available to a                        10 A No, I understand.
11 seventeen-year-old, but not to a ten-year-old?                 11 Q It's just an honest question and I don't know what --
12 A Uh-huh.                                                      12 how people are going to deal with this.
13 Q Or is the principle that you said that it's really           13 A Yeah.
14 just any minor should have their parent's permission?          14           MR. ADAMS: Yeah, it sounds like there's a
15 A Correct.                                                     15       few folks wanting to chime in, so maybe it's
16 Q Like applied to this appropriateness --                      16       good for my side to caucus. Just give us like
17 A Correct.                                                     17       five minutes.
18 Q -- challenge too?                                            18           MR. MCLELLAND: Sure.
19 A Correct.                                                     19          (Brief recess was taken.)
20 Q Okay. And I don't know if you heard this part of Eva         20 BY MR. ADAMS:
21 White's deposition this morning, so you can tell me if you     21 Q Judge Keith, I have just a handful, I think, of some
22 did or not. I know you came in at some point during it,        22 follow-ups to make sure I understood what you were talking
23 but one of the things that I asked her about was what          23 about before.
24 would be involved in creating an area of all the libraries     24 A Okay.
25 inaccessible to minors under the age of 18.                    25 Q I want to turn you back to the December 19th


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 1 A Uh-huh.                                                       1 narrative, which was Exhibit 10.
 2 Q And I'll represent that she said it would be very             2 A Yes, sir.
 3 expensive because libraries have open floor plans --            3 Q If you look on Page 24, Item 4 is comments from John
 4 A Right.                                                        4 Riordan.
 5 Q -- to -- to create segregated areas that are                  5 A Yes, sir.
 6 inaccessible to minors under the age of 18, part of that,       6 Q He says: "I am a citizen of Rudy and I would like to
 7 I think, is architectural and part may be a human               7 make a comment on the library situation, which I am here
 8 resources challenge because if there's a part that you          8 on behalf of the River Valley City Elders."
 9 wall off and you want to let the adults through, but not        9    Is he the same person that invited you to talk to
10 the minors --                                                  10 that group during the campaign?
11            MR. MCLELLAND: Can we take a break?                 11 A That's correct.
12            MR. ADAMS: Yeah.                                    12 Q Okay. And at that forum, were either of the Hambys
13            MR. MCLELLAND: Sorry.                               13 there?
14            MS. BROWNSTEIN: Sorry.                              14 A No, sir.
15 BY MR. ADAMS:                                                  15 Q Or any other people you've appointed to the Crawford
16 Q Ms. White testified, and other plaintiffs in this            16 County Library Board there?
17 case have offered their opinions, librarians, that that        17 A No, sir.
18 would be quite expensive; in fact, cost prohibitive.           18 Q Were any people who recommended that you appoint
19     Is it your sense, as the chief person responsible for      19 anyone to the Crawford County Library Board there?
20 the finances of Crawford County, that that would, in fact,     20 A No, sir.
21 be the case?                                                   21 Q Okay. And while we were talking about constituent
22 A I'm sure it would be, yes.                                   22 recommendations, I guess you said that constituents had
23 Q Okay. Have you looked at that if -- because we could         23 recommended various board members that you did appoint to
24 lose this lawsuit and you could be having to create those      24 the Board?
25 shortly. Have you looked at the fiscal impact of this          25 A Correct.


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 1 Q But you couldn't remember who made those                     1 A No, sir.
 2 recommendations to you?                                        2 Q Okay. Let's also look at 9.
 3 A No, sir, I don't.                                            3 A Okay.
 4 Q If Act 372 goes into effect and you're faced with the        4 Q This is a different letter of the same day from
 5 decision about whether to make a recommendation to the         5 Gentry Wahlmeier. This one is addressed to Terrence Cain
 6 Quorum Court about whether a book gets moved or not moved      6 and Brian Meadors.
 7 to the segregated area, would you probably also listen to      7     And the second paragraph says: "Acting as the
 8 constituent recommendations?                                   8 legislative branch of a county is a task that comes with a
 9           MR. WATSON: Object to form.                          9 greater difficulty than one would think. The balancing
10 A I'm sure they would, to make their decision on.             10 test between the freedom of an unbounded First Amendment
11 Q You're sure the Quorum Court members would listen to        11 and protecting children from exposure to materials that
12 constituent recommendations about which way to vote?          12 might harm their innocence exposes the core of the phrase
13 A Yeah.                                                       13 'rational minds may differ'."
14 Q Okay. But would you --                                      14     Is it your understanding that the materials in the
15 A They represent their constituents.                          15 Social Section are, quote, "materials that might harm
16 Q Okay. Well, do you represent the citizens of                16 children's innocence"?
17 Crawford County?                                              17 A No, I -- I don't know if it would or not.
18 A I do.                                                       18 Q Okay. It goes on to say --
19 Q Okay. So would you listen to constituents'                  19 A Apparently Deidre did, though, because she put them
20 recommendations about making a recommendation on library      20 there.
21 materials?                                                    21 Q Deidre thought that the books in the Social Section
22           MR. MCLELLAND: Object to form.                      22 might harm the innocence of children?
23 A If there was a very strong opinion on it.                   23 A Well, I mean, I can't speculate --
24 Q Okay.                                                       24            MR. MCLELLAND: Object to form.
25 A Like I said earlier, I'm not going to say that I            25 A -- on her opinion, but they're there because they


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 1 would never make an opinion on it, but I'm not going to        1 were put there by the director.
 2 say that I would either.                                       2 Q Okay. But in, at least, some of these cases, it
 3 Q You just have to make that decision?                         3 seems like the picture is a little more complicated
 4 A Correct?                                                     4 because the books were specifically asked to be moved.
 5 Q At the time?                                                 5     Like the three books that we looked at before that
 6 A Assumption, again.                                           6 you said that you didn't think were pornographic, you
 7 Q Let's look at Exhibit 8. That's a recommendation or          7 didn't take a position on whether they were appropriate or
 8 that's a letter from the county attorney. Who is that          8 not for kids?
 9 letter to?                                                     9 A Right.
10 A It is to the Crawford County Library Board and              10 Q From what I remember. But what happened was -- well,
11 Director Eva White.                                           11 let's look back here. Let's look at the December 19th,
12 Q Okay. Have you ever seen that letter before?                12 2022 minutes again, and, again, reading 10 lines down.
13 A I have not.                                                 13 A Which page are we on?
14 Q Okay. It says at the end: "Specifically you must            14 Q Crawford County 25. And I believe this is still John
15 create a section that is not accessible to those under 18     15 Riordan talking, if the numbering is correct, and he says:
16 and create a policy for challenging physical materials."      16 "I'd just like to note that four citizens in Crawford
17     That's goes back to what we were talking about            17 County requested the Library Board to reconsider six books
18 before. And has the -- has the library budgetary process      18 in the library board at the November board meeting. The
19 gone through with that and looked at what it would cost to    19 three library board members present voted down their
20 create a section in each of the library branches that is      20 request and didn't address their concern. These books
21 not accessible to those under 18?                             21 were," and the final three were The Big Book of Pride
22 A I don't know if they have or not.                           22 Flags, Uncle Bobby's Wedding and Bye Bye Binary.
23 Q Okay. But you're not aware that they've asked for           23     There's certain persons employed by Crawford County
24 extra funding to account for that construction or             24 Library System that are ordering and promoting these books
25 anything?                                                     25 to our children. I do not want my children or anyone


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 1 else's children to be exposed to these books seeking to       1 people and Dr. Hamby and also Justice Johnson. I think
 2 take away their innocence."                                   2 that there is a way that a compromise can be found. When
 3     So it's the same phrase that Gentry used.                 3 they brought the books to us on reconsideration, there is
 4 A Uh-huh.                                                     4 criteria that we are supposed to follow and those books,
 5 Q So it seems that the county attorney was adopting the       5 they didn't. It was very difficult with the board, but we
 6 analysis of Mr. Riordan in his request that these books be    6 were trying to avoid any censorship and be very, very
 7 taken out of the children's section?                          7 careful about that and our library millage we are talking
 8            MR. MCLELLAND: Object to form.                     8 about has not asked for an increase in our millage since
 9 BY MR. ADAMS:                                                 9 1998. I don't know of any of our departments in the
10 Q Do you disagree with what I just said?                     10 county that has the same funding as they in 1998, but we
11 A I don't disagree or agree with it. I don't know.           11 try to be careful. If someone come and tried to sue us
12 They could have the same wording, for all I know.            12 for censorship, we would not survive it, so we try to walk
13    To my knowledge Mr. Riordan and Mr. Wahlmeier don't       13 that fine line of what values most of the people need and
14 know each other, to my knowledge.                            14 still represent everyone in the community, so we try to be
15 Q Well, that wasn't my question. I'm just asking if          15 neutral repeatedly. So what I'm asking for is a
16 they used the same wording for the same issue --             16 compromise. When we didn't remove them from the shelf,
17 A There's a few -- same wording in there, yes.               17 which is what we were asked to do, that is censorship."
18 Q Okay. So who was the library director at the time,         18     So she was the board chair at the time?
19 assuming Mr. Riordan is correct about this, that the         19 A Correct.
20 library staff and the library board members refused to       20 Q And she's describing the compromise as between -- it
21 move these six books that he mentioned?                      21 sounds like to me -- you can tell me if you have a
22 A That would have been -- Deidre Grzymala was the            22 different interpretation of that. It sounds like she's
23 Director.                                                    23 describing a compromise as between complete removal of the
24 Q So it's at least not true with respect to all of the       24 books and leaving the books where they are.
25 books in the Social Section that Deidre made an              25 A That's what it sounds like, yes.


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 1 independent judgment about the appropriatenesses of those     1 Q Okay. So who was in favor of complete removal of the
 2 books? Do you agree with what I just said?                    2 books?
 3 A I think in my opinion --                                    3 A As far as the Quorum Court?
 4           MR. MCLELLAND: Object to form.                      4 Q As far as anyone?
 5           MR. WATSON: Object to form.                         5 A I don't know.
 6           MR. MCLELLAND: Go ahead.                            6 Q Okay. Well, she mentioned someone just prior to
 7 A In my opinion, at the time Deidre took her                  7 that. That's why I asked.
 8 conversation from the December meeting, she directed this     8 A Dr. Hamby?
 9 Social Section towards LGBTQ and that's where the Social      9 Q And Justice Johnson. Do know whether they were in
10 Section was directed. It was off of her authorization of     10 favor of the removal of the books?
11 what she thought should be put in there.                     11 A I don't know. Justice Johnson is no longer with us.
12 Q I want to focus on a few more parts of these               12 Q Like is he -- is he with God or no longer on the
13 December 19, 2022 minutes.                                   13 Quorum Court?
14 A Okay.                                                      14 A No, he's not on the Quorum Court anymore.
15 Q In Section 6, sort of near the bottom of Page 25, it       15 Q Two ways to go with that.
16 says: "Jami Ann Balkman spoke to the quorum --               16 A Yeah, that's true; that's true.
17 A Yes.                                                       17 Q All right. If you'll pardon me for a second, I want
18 Q She had been serving on the Library Board for nine         18 to look at some notes.
19 years and has been the chairperson for the last five. Our    19     One thing I asked Ms. White this morning was that --
20 Library Board is a neutral political entity and we don't     20 was about the appointment of library board members and she
21 take a political stand in any way. Legally the right to      21 told me that from approximately the year 2000 to the year
22 determine what a child looks at is solely with the parent    22 2020, every one of her recommendations to the county judge
23 and it's not the library responsibly (sic), and other        23 was accepted and appointed to the library board and you
24 thing we are charged with is the First Amendment rights of   24 decided to go a different route.
25 everyone in our community. I have talked with several        25     Can you explain why you decided not to do it the way


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 1 it had been done in the past?                                 1 BY MR. WATSON:
 2 A Sure. Well, for one, three members resigning at the         2 Q I just have a couple of questions following up.
 3 same time is pretty unprecedented, so I had to deal with      3 Hopefully it will be very quick.
 4 that, and for the ones that were recommended to me, I did     4 A Yes, sir.
 5 not feel that they could -- that they would represent our     5 Q First, I just want to quickly go back to yours and
 6 constituents well, so that's why I decided to go a            6 Mr. Adams discussion of pornography in the library and
 7 different route.                                              7 after that December meeting it was your understanding that
 8 Q So do you remember who those three were that the            8 there might have been some materials that were
 9 library staff recommend?                                      9 pornographic in the library.
10 A I do not, not off the top of my head.                      10 A Yes, sir.
11 Q When you say you didn't feel like would represent the      11 Q Did I understand you correctly that you weren't aware
12 constituents well, what does that mean?                      12 of any specific book that met that description, though?
13 A I just didn't feel like -- like Tammi, for example,        13 A No, sir, I was not.
14 she had a business administrative profession, so I figured   14 Q Okay. Next, you and Mr. Adams talked a lot about
15 that she could represent in that manner.                     15 Exhibit 1, which is Act 372, and some of the specifics of
16 Q Okay.                                                      16 how that operates.
17 A And the other two were avid users of the library and       17    First of all, Judge Keith, are you a lawyer?
18 their families, and they knew the library system, the        18 A No, sir.
19 other two that I appointed.                                  19 Q So any of your comments on the operation of the Act
20 Q I see. Were the three that the library staff               20 were you giving a legal opinion?
21 recommended not avid users of the library?                   21 A No, sir.
22 A Not to my knowledge.                                       22 Q With that caveat, I'm going to do the same thing that
23 Q Did you know that Ms. Hamby was an avid user of the        23 I am sort of saying doesn't matter. So if you could pull
24 library?                                                     24 Exhibit 1 out and I just want to ask a couple of questions
25 A I knew that she had had a membership at one point,         25 about that.


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 1 yes.                                                          1 A Okay.
 2 Q Okay. One of the accusations in the Hamby letter,           2 Q So Page 7 is where I'm going to start.
 3 for example, is that the current library staff was            3 A Okay.
 4 ordering these books, which were harmful to the innocence     4 Q So in your conversation with Mr. Adams, there was a
 5 of minors.                                                    5 lot of focus on the word appropriateness, which is Line 18
 6    Is that a fair summary?                                    6 on Page 7. It may not be a total surprise, since there's
 7 A Uh-huh.                                                     7 a lawsuit, Mr. Adams and I have a slightly different
 8 Q So why would Deidre Grzymala order books if she             8 interpretation of how the statute works.
 9 thought they were harmful to the innocence of minors?         9     Since he took you through his interpretation, I just
10 A I don't know.                                              10 want to take you through mine and see if that changes any
11 Q Okay. Do you think being a library user is required        11 of your opinions.
12 to be a good library board member?                           12 A Okay.
13           MR. MCLELLAND: Objection. Calls for an             13 Q So if we look at Subsection 8, it starts there on
14        opinion. You may answer.                              14 Line 8, and I'll just read it. So each county or
15 A I don't think it's required, but it certainly helps        15 municipal library shall have a written policy to establish
16 to know the system.                                          16 guidelines for the selection, relocation, and retention of
17 Q Okay. And I'm not sure we went into this at the            17 physical materials that are available to the public.
18 beginning. Historically, how much have you used the          18     Did I read that correctly?
19 Crawford County Library System?                              19 A Yes, sir.
20 A I have not.                                                20 Q Then if you will skip to Page 8. Once again, I'm
21 Q Have you ever had a card?                                  21 going to start on Line 10. In between what I just read
22 A No.                                                        22 and Line 10, though, tell me if this characterization is
23 Q Okay. I think that's all I have.                           23 correct. If a person comes and challenges a book, the
24 A Thank you.                                                 24 appropriateness, then it goes eventually to a library
25               EXAMINATION                                    25 committee who will review that and then make a


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 1 determination.                                                 1 the competing factions and all of that, did that predate
 2    Is that more or less how you understand that?               2 Act 372?
 3 A Yes, sir.                                                    3 A Yes.
 4 Q So starting at Line 10 on Page 8, it says that that          4 Q And this morning when we were deposing Ms. White, I
 5 committee established under subdivision (c)(6)(A) of this      5 asked her if she thought all of these issues were
 6 section shall determine if the material being challenged       6 unrelated to Act 372 and she said yes.
 7 meets the criteria of selection.                               7     Do you agree with that?
 8    Do you see any other basis that the committee is            8 A I do agree with that.
 9 allowed to make its decision on, other than the criteria       9 Q That's all I have. Thank you.
10 of selection that the library established?                    10              MR. MCLELLAND: I need a break and then
11 A No, sir.                                                    11         I'll ask my questions.
12           MS. BROWNSTEIN: I object to the form. I             12            (Brief recess was taken.)
13        mean, obviously it's not as you stated.                13                 EXAMINATION
14           MR. MCLELLAND: What was the question on             14 BY MR. MCLELLAND:
15        the table? I knew you objected.                        15 Q Judge Keith, I've got a couple of follow-up questions
16           MR. WATSON: So the question was do you              16 and then that may prompt some questions from the other
17        see, in the Act, any other basis for the               17 attorneys and then we're going to go round-robin until we
18        committee -- the library committee to, you know,       18 run out of questions.
19        place a book, move a book from the general             19 A Okay.
20        circulation to what is later described as an           20 Q I'm going to start back kind of towards the beginning
21        area prohibited from access for minors?                21 of you and Mr. Adams' conversation.
22           MS. BROWNSTEIN: I object to form. On the            22     Is the Crawford County Quorum Court responsible for
23        other -- any other basis other than what?              23 implementing library policy?
24 BY MR. WATSON:                                                24 A No, sir.
25 Q Other than the criteria of selection in Line 10             25 Q Okay. In the creation of the Social Section, who


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 1 through 12 on Page 8.                                          1 selected the books that were moved to the Social Section?
 2 A Are you waiting on me?                                       2 A Deidre Grzymala, which was the Library Director at
 3 Q I think so.                                                  3 the time.
 4 A So what was the question?                                    4 Q Are you aware whether she made that -- or do you know
 5 Q So are there any other reasons that this library             5 if she made those determinations for those books based
 6 committee may move a material, other than what's in Lines      6 upon Act 372?
 7 10 through 12, being that the challenged material meets        7 A No, she did not.
 8 the criteria of selection that was established, as we just     8 Q She did not?
 9 read, by the libraries in Subsection A?                        9 A She did not.
10 A No, sir.                                                    10 Q Act 372 wasn't a factor in her decision?
11 Q Okay. So then on Page 9, Line 8, this is (12)(A).           11 A Correct.
12 This is the provision -- and I'll give you a moment to        12 Q Do you remember discussing the severance agreement
13 read over that, but that's the part that there's an appeal    13 with Mr. Adams earlier that dealt with Deidre?
14 up to the Quorum Court.                                       14 A Yes.
15 A Okay.                                                       15 Q Okay. Were you aware that at the time that
16 Q Based on what we just discussed, what do you think          16 Deidre's -- were you aware that she was represented by an
17 the basis of the review of the Quorum Court would be?         17 attorney in those negotiations?
18 A Well, I think it should be based on the same things,        18 A Yes.
19 the criteria of selection.                                    19 Q And did you participate in any of those negotiations
20 Q So you don't think the Quorum Court could just              20 individually?
21 change, essentially, everything that happened before in       21 A No.
22 the process and go a totally different way?                   22 Q Okay. Are you aware that in this case -- well,
23 A No.                                                         23 you're aware in this case that you filed -- or your
24 Q And then my last question, you know, a lot of the           24 attorneys filed an Affidavit on your behalf that stated
25 factual issues that we talked about with Ms. Grzymala and     25 that Crawford County would implement Act 372.


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 1     Do you remember signing that Affidavit?                     1 this section, the executive head of the county or city may
 2 A Uh-huh.                                                       2 also include his or her recommendation regarding the
 3 Q Is that a yes?                                                3 appeal submitted under this subdivision (c)(12)."
 4 A Yes.                                                          4    Did I read that right?
 5 Q So Crawford County has to implement Act 372; is that          5 A Yes.
 6 correct?                                                        6 Q So is it correct to say that -- is it your
 7 A Correct.                                                      7 understanding that you have to provide a recommendation
 8 Q Do you know what would happen if Crawford County              8 that includes material as set forth in (c)(12)(B)(i)?
 9 didn't implement Act 372?                                       9 A Correct.
10            MR. WATSON: Object to form.                         10 Q But that you can include -- is it your understanding
11 A You mean if it was state law?                                11 that you can include information in addition to that
12 Q I'm sorry, let me clarify. So Act 372, if it was to          12 information, based upon the first few words of that
13 go into effect and the Plaintiffs did not prevail in this      13 section?
14 case, Act 372 goes into effect and Crawford County chose       14 A As far as my recommendation?
15 to not -- if it had a choice, if Crawford County even had      15 Q Yes, as far as the recommendation you make.
16 a choice and it chose not to implement Act 372, do you         16 A Yes.
17 know what would happen in such a situation?                    17 Q So you include information beyond that of what's in
18            MR. WATSON: Object to form.                         18 section (c)(12)(B)(i)?
19 A Then the state would come after us.                          19 A Yeah, I see that. I was -- I don't know. I don't
20 Q And by come after us, what do you mean?                      20 know if you could add any more to that or not.
21 A Well, I don't know exactly what it would be. I mean,         21 Q Do you know what -- besides the information in
22 they'd sue us, they'd come after us making us implement        22 Section (C)(12) (B)(i), we'll call that the baseline
23 it.                                                            23 recommendation. Beyond just the baseline, could you put
24     And I might add to that, just like any other library       24 more information in there if you wanted to?
25 system in the state.                                           25 A Well, I mean, it doesn't specify in there what you


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 1 Q And what do you mean by any other library --                  1 could base your recommendation off of.
 2 A If they chose not to implement it, too, then the              2 Q Okay. So you're not sure, really, what would go into
 3 state would come after them as well, just like us.              3 your recommendation, beyond just the kind of baseline --
 4 Q That's your understanding?                                    4 A Right.
 5 A Yes.                                                          5 Q -- of what's required?
 6 Q And has any other library system been sued in this            6 A Right, there's no criteria for it.
 7 case?                                                           7 Q Okay. Do you have any thoughts on Act 372?
 8 A No.                                                           8 A Honestly, I would just assume not have it.
 9 Q So Crawford County is the only library system that's          9 Q And is there a reason why you'd rather not have this
10 a Defendant in this case?                                      10 law?
11 A Yes, sir.                                                    11 A Because -- especially for Section 5, it's going to be
12 Q Are you aware that there are library systems suing           12 nothing but a headache for us if book challenges come up
13 Crawford County in this case?                                  13 and it's going to be constant litigation from here on out
14 A Yes.                                                         14 for us, for money that we don't have.
15 Q Do you know any of the specific library systems that         15 Q And has Crawford County -- to your knowledge, has
16 are suing?                                                     16 Crawford County taken any steps to implement Act 372?
17 A No, not exactly.                                             17 A No, sir.
18 Q Okay. But you're aware that there are library                18 Q When Deidre Grzymala created the Social Section as a
19 systems that are Plaintiffs in this case?                      19 compromise, was --
20 A Correct, yes.                                                20           MS. BROWNSTEIN: Object to the -- assumes a
21 Q Okay. If you'll turn to Exhibit 1, and if you'll             21       conclusion not entirely complete in the
22 turn to Page 9, Line 22 through 25. This is about the          22       evidence.
23 recommendation that you may make if this law was to go         23           MR. MCLELLAND: Okay, I'll rephrase.
24 into effect. It states: "In addition to the information        24           MS. BROWNSTEIN: You don't have to
25 required to be provided under subdivision (c)(12)(B)(i) of     25       rephrase.


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 1            MR. MCLELLAND: I think the evidence is in.         1 system in the state be required to -- do you know if any
 2            But when --                                        2 other library system in the state would be required to
 3            MS. BROWNSTEIN: I object to the contention         3 chip in to pay for those attorneys' fees?
 4        that Ms. Grzymala is responsible for the               4 A No.
 5        so-called compromise.                                  5 Q Okay.
 6 BY MR. MCLELLAND:                                             6 A No.
 7 Q Okay. Who created the Social Section?                       7 Q Let's flip over to the Gentry letter?
 8 A Deidre Grzymala.                                            8 A I've got both of them right here.
 9 Q Are you aware of when she created it?                       9 Q Actually before we get to that, do you remember
10 A Apparently between the December meeting and the            10 talking about how Act 372 would potentially open up the
11 January Quorum Court meetings.                               11 library to kind of never-ending litigation?
12 Q So kind of in the first few weeks of January? Is           12 A Yes.
13 that fair to say?                                            13 Q Okay. If you'll flip over to the Quorum Court
14 A Yeah, end of December, first of January.                   14 minutes on the 19th, on Page 26, I think it's Plaintiff's
15 Q Okay. At that time, were you aware of whether Act          15 10, and kind of towards the top, I think this is
16 372 was even a bill at that time?                            16 Ms. Balkman speaking still at the behest of Justice
17 A No, never heard of it. At that time.                       17 Johnson at that meeting.
18 Q At that time, right. So is it fair to say when the         18     She states there: "If someone come and tried to sue
19 compromise was made in that late December, early January     19 us for censorship, we would not survive it, so we try to
20 period, was Act 372 a part of that compromise?               20 walk that fine line of what the values of most of the
21 A No, sir.                                                   21 people need and still represent everyone in our
22 Q Okay. Do you have to have a library card to be             22 community."
23 elected judge of this county?                                23     Did I read that correctly?
24 A No, sir.                                                   24 A Yes.
25 Q What requirements are there to be elected judge?           25 Q And do you remember her giving that statement at the


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 1 A To be elected by the majority of the citizens of the        1 December Quorum Court meeting?
 2 county.                                                       2 A I do.
 3 Q Okay. Do you think having a library in the community        3 Q Are her concerns about the budget -- when she says
 4 is a good thing?                                              4 that we could not survive -- well, actually, let me back
 5 A Absolutely.                                                 5 up.
 6 Q Why do you say that?                                        6     If you go to Page 25, at the bottom it says: "When
 7 A I think it's great for future economic development          7 they brought the books to us on reconsideration, there is
 8 and it's a good learning experience for not only children,    8 criteria that we are supposed to follow and those books,
 9 but for adults to go to to get materials they need.           9 they didn't, it was very difficult with the board, but we
10 Q Do you have any concern that Act 372 would place           10 were trying to avoid any censorship and be very, very
11 potential -- do you have any concern that Act 372 might      11 careful about that and our library millage that we are
12 infringe upon the benefits that you just described for the   12 talking about has not asked for an increase in our millage
13 library system?                                              13 since 1998."
14           MR. WATSON: Object to form.                        14     Did I read that right?
15 A Financially, yes.                                          15 A Yes.
16 Q Speaking of finances, are you aware that in this           16 Q So is it your understanding that the library has not
17 case -- are you aware that in this case that Plaintiffs      17 received a millage increase since 1998?
18 could have the ability to ask for their attorneys' fees?     18 A Correct.
19 A Yes.                                                       19 Q So when Ms. Balkman talked about we would not survive
20 Q And if they were to request their attorneys' fees in       20 it, do you know what she was referencing?
21 this case, where would the money for that come from?         21 A Yeah, she was talking about the cost of litigation.
22 A Well, it would have to come out of either county           22 Q And the cost of that?
23 general or it could possibly come out of a portion of the    23 A The cost of it, yes.
24 library fund as well.                                        24 Q And then if we go to the Gentry letter, do you
25 Q Do you know if any other -- would any other library        25 remember discussing the innocence of children between the


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 1 Quorum Court minutes with John Riordan, I believe said        1     So is that description about litigation costs leading
 2 those words at the Quorum Court meeting, and Gentry           2 to the library closing or a millage vote leading to a
 3 Wahlmeier said those words in a letter. Do you remember       3 reduction in the funding of the libraries?
 4 discussing that with Mr. Adams?                               4 A Well, I think what she was referring to -- and I
 5 A I do.                                                       5 still say I think what she was referring to before Justice
 6 Q Okay. Do you know whether Gentry consulted                  6 Peppas said that, that she was talking about being neutral
 7 Mr. Riordan in preparation of that letter?                    7 and not discriminating and we would not be able to survive
 8 A I do not. It's highly unlikely.                             8 that because there would be litigation brought against us.
 9 Q Why do you think it's highly unlikely?                      9 Q And what's Justice Peppas' view about neutrality?
10 A Because I don't think they know each other well            10 A I'm sorry?
11 enough to -- it's my assumption that they don't know each    11 Q What does Justice Peppas say about neutrality?
12 other well enough to coerce like that.                       12 A Well, he says just the opposite after she made her
13 Q Okay. Judge Keith, is there anything else that you         13 comment.
14 would like to state for the record because I think I'm       14 Q Okay. When you said if Crawford County didn't
15 done? I want to make sure that all of your words have        15 implement Act 372 the state would come after us. I'm not
16 been said.                                                   16 sure I understand what that means. Like who specifically
17 A Yeah, I would just like to say that, you know, I --        17 is the state in that case?
18 and this is my opinion, and the way I think most people      18 A Well, I don't know exactly what the entity would be
19 feel in Crawford County is, you know, I feel like because    19 of the state, but you know, we would be breaking state law
20 of the litigation we're going through, we were targeted to   20 and they would be coming to enforce it upon us, they as
21 be put as a Defendant on this case and I don't think it's    21 the state.
22 fair that Crawford County has to pay these legal fees        22 Q Okay. So let's look at Exhibit 9 again, which Sam
23 because you're just -- it's taking money and sales tax       23 asked you about just now. It says the Quorum Court is in
24 dollars out of our county's pocket that we can't afford.     24 receipt of your email dated May 18th, 2023. What did that
25     And it's not fair that, you know, the Plaintiffs         25 email from Brian Meadors and Terrence Cain say; do you


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 1 don't have to, but if we lose, then we have to pay            1 remember?
 2 attorney fees and that's not right. That's all I have to      2 A Off the top of my head I'm not sure what it says.
 3 say.                                                          3 Q The second sentence of the first paragraph says:
 4            MR. MCLELLAND: With that, I'll pass.               4 "That email also contains a draft Complaint of a civil
 5            FURTHER EXAMINATION                                5 case in the Western District of Arkansas."
 6 BY MR. ADAMS:                                                 6 A Uh-huh.
 7 Q I'm going to return to Page 26 of the Crawford County       7 Q Are you familiar with when lawyers send a draft
 8 General Procedures where Sam was leading you through the      8 complaint, what does that mean?
 9 questions about what Ms. Balkman said.                        9 A No, I don't know.
10     I mean, you testified you thought that was about         10 Q Did Brian Meadors and Terrence Cain file a lawsuit
11 litigation expenses that might lead to the closure of the    11 against Crawford County?
12 library?                                                     12 A They are the attorneys on that lawsuit, yes.
13 A Uh-huh.                                                    13 Q Do you remember when they filed that lawsuit?
14 Q I'm going to read on Page 26, ten lines down.              14 A No. It was the summer of last year.
15 "Justice Peppas stated that we as a quorum are not           15 Q Okay. So had they filed it on May 18th, when they
16 neutral. We belong to certain parties and I am a             16 sent the email, from what you can tell?
17 conservative and I have had constituents that are prepared   17 A To my knowledge, no.
18 to have a ballot measure take place to reduce the millage,   18 Q Okay. If it's a draft complaint, at least, my
19 and you said you have not had a millage increase since       19 assumption -- I don't -- I don't remember the day they
20 1998, but we are not necessarily neutral up here and if      20 filed it either.
21 they want to go ahead and make that move, it will be up to   21     But in the normal course of affairs, if there's a
22 the people and no one wants that to happen. Ms. Balkman      22 draft complaint going around and that's what people are
23 stated that she hopes for a compromise and not to go that    23 talking about, they're not talking about the one that's
24 route. Justice Peppas stated that this was not going to      24 actually been filed.
25 go away."                                                    25 A Okay.


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 1 Q So it sounds to me as though they had sent the County       1 the Social Section, is it fair to say that this letter
 2 a demand of some sort and said we're going to sue you         2 helped create that impression that they were --
 3 unless you do something and then they sued the county over    3 A No, I mean --
 4 what, like why did they sue the county?                       4            MR. MCLELLAND: Object to form; object to
 5 A Over the Social Section being created.                      5        characterization. You can go ahead.
 6 Q Okay. So then the second paragraph is Gentry's              6 A You say citizens of Crawford County see that they're
 7 explanation of the legal basis for what the County had        7 connected. What -- what citizens?
 8 done, and it includes that language that I quoted to you a    8 Q The Plaintiffs in this lawsuit. There are three of
 9 little while ago, that it involved protecting children        9 them. Two of them are in this room.
10 from exposure to materials that might harm their             10 A Well, it wasn't even a thing in December when the
11 innocence, mirroring some language we heard from a Quorum    11 compromise was made to make the Social Section.
12 Court member.                                                12 Q Right.
13 A Are you talking about John Riordan?                        13 A So how could the two be connected?
14 Q Correct.                                                   14 Q Well, I guess I put that question to you. This is
15 A He's not a Quorum Court member.                            15 your lawyer writing this and saying they're going to
16 Q Oh, okay. Mirroring some language from someone that        16 continue modifying --
17 had asked for books to be moved. Okay?                       17 A He's just saying continued modifications because they
18 A Okay.                                                      18 had already moved the Social Section, so, you know, I
19 Q Fair enough. Then the next paragraph said: "This           19 can't say what his wording is, but he just means that
20 balancing test is coming to the forefront of the national    20 there's going to be more to come.
21 conversation. At the state level, Act 372 passed the         21 Q Okay. Are you aware that Jonesboro and Craighead
22 legislature and is going into effect shortly. Its effect     22 County voters reduced the millage assigned to their
23 will be to require libraries to have a section that is       23 libraries in a recent election?
24 inaccessible to minors."                                     24 A I have heard that Jonesboro has in the past, but
25     Skipping down to the end, "Act 372 will make it          25 that's all I've heard of.


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 1 necessary to continue modifying and changing the library      1 Q Were you aware of that in December of 2022?
 2 system's policies and procedures."                            2 A No, I was not.
 3 A Uh-huh.                                                     3 Q Okay. And do you remember when and how you became
 4 Q To me that makes it sound as though the creation of         4 aware of that?
 5 the Social Section started a process, which Act 372 was       5 A Not until all this litigation started in later
 6 going to continue, and I'll explain what I mean by that.      6 spring, early summer is when I knew.
 7 A Okay.                                                       7 Q Okay. Did you hear Eva White, earlier today, say
 8 Q So Act 372 requires certain books, in the case of           8 that she's worried about that happening here?
 9 successful challenges, to be moved to an area of a library    9 A Yes.
10 inaccessible to minors under the age of 18 based on          10 Q Are you worried about that happening here?
11 whether they're appropriate. Okay? And that's all it         11 A I think it's a possibility.
12 says, right?                                                 12 Q Okay. And do you have an opinion about what would
13 A Okay.                                                      13 make more or less likely for that kind of vote to happen
14 Q The creation of the Social Section was the library         14 here?
15 segregating books? It was not to an area inaccessible to     15 A No, I don't. I mean, I just think that, you know,
16 minors under the age of 18, but it had started a process     16 you got to understand that Crawford County is a very
17 of deciding which books were somehow appropriate --          17 conservative county of the majority and if there's certain
18           MR. WATSON: Object to form.                        18 things lost here that the majority does not approve of,
19 Q -- to be in the children's section.                        19 then I think there's a chance that they could bring that
20    We talked about some examples of some books that were     20 to a vote.
21 found to be inappropriate for the children's section         21 Q Okay.
22 according to somebody, right?                                22 A Do I want that? No, I don't. I want our library
23 A Yes, sir.                                                  23 system to stay intact.
24 Q So when people in Crawford County saw the upcoming         24 Q So when you say certain things lost here, do you have
25 implementation of Act 372 as connected to the creation of    25 something in mind?


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 1 A Well, I'm talking about the -- the lawsuits we have.          1 Q Particularly being other libraries?
 2 Q Okay. That's all I have. Thank you, Judge.                    2 A Them being Plaintiffs and us being the Defendant and
 3 A Thank you.                                                    3 having to suck money out of our county, yes, I do have a
 4            FURTHER EXAMINATION                                  4 complaint.
 5 BY MR. WATSON:                                                  5 Q Okay. That's all I've got.
 6 Q So when you said that the state would come after us           6 A Okay.
 7 if you didn't implement Act 372, do you have any specific       7             FURTHER EXAMINATION
 8 basis for that belief, other than just -- well, do you          8 BY MR. MCLELLAND:
 9 have any specific basis for that belief?                        9 Q Just a few more. Will you flip to those infamous
10 A I don't. I just assume that, you know, if we don't           10 December 19th, 2022 minutes that we've discussed all day.
11 implement the state law, then we're basically breaking         11 Page 26. I'm going to be on the top line.
12 state law and they will come after us to implement it.         12 A Okay.
13 Q Well, it sounded like, and tell me if I'm wrong, it          13 Q And this is Ms. Balkman speaking. At the second
14 sounded like the biggest issue you had when your attorney      14 line, it says: "If someone come and tried to sue us for
15 asked, you know, something -- I don't remember the             15 censorship, we would not survive it."
16 question, but your response was we would just rather not       16     I'm going to stop there.
17 have Act 372 or something like that.                           17 A Okay.
18 A Uh-huh.                                                      18 Q Is it your understanding reading that beginning
19 Q I think your reasoning for that was mostly based on          19 sentence, that Ms. Balkman was stating that a lawsuit
20 funding or exclusively based on funding. Could you -- is       20 involving censorship would harm or would affect the
21 that correct?                                                  21 libraries' funding?
22 A Well, I think part of it is funding, but no I mean,          22 A Yes.
23 as far as -- especially on Section 5, we don't want that       23 Q Okay. I'm going to keep reading for completion. "If
24 responsibility to be put on our backs as the judge in the      24 someone come and tried to sue us for censorship, we would
25 Quorum Court.                                                  25 not survive it, so we try to walk a fine line of what the


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 1 Q And are you aware of any other laws in which the              1 values of most of the people need and still represent
 2 state has passed that set a requirement for counties, but       2 everyone in our community."
 3 did not provide funding?                                        3    Did I read that correctly?
 4           MR. MCLELLAND: Object to form.                        4 A Yes.
 5 A I'm sorry?                                                    5 Q So as you read this, it's your understanding that
 6 Q Are you aware of any other laws, state laws that set          6 Ms. Balkman was stating that lawsuits involving censorship
 7 requirements for counties?                                      7 would be detrimental to the funding of the Crawford County
 8 A Yeah, I'm sure there are several of them.                     8 Library System?
 9 Q Does the state provide funding for all of those laws?         9 A Yes.
10 A No.                                                          10 Q Do you remember discussing the Gentry letter, or the
11 Q And then the last thing I wanted to ask goes back to         11 Wahlmeier Law Firm letter, to be more formal here, with
12 kind of the open question that Mr. McLelland asked you         12 Mr. Adams just a moment ago and you stated that Gentry's
13 about your thoughts in general about the potential effects     13 kind of characterization of this -- of both the Social
14 of this lawsuit.                                               14 Section and Act 372, was that Act 372 is going to cause,
15 A Yes.                                                         15 quote, "more to come." Do you remember saying those
16 Q Do you have any particular concerns or is it                 16 words; there's more to come?
17 especially bothersome that, you know, two of the               17 A Yes.
18 Plaintiffs are libraries that may, you know, end up            18 Q Okay. When you say that there's more to come, what
19 cutting funding for your library from other parts of the       19 do you mean by that?
20 state?                                                         20 A Well, I meant that, you know, we've already created
21           MS. BROWNSTEIN: I object to the form. I'm            21 the Social Section. It's already been created, not due to
22        not quite sure I understand the question.               22 Act 372, but with the implementation of 372, then that's
23 BY MR. WATSON:                                                 23 going to cause us to continue to modify things.
24 Q Did you understand the question?                             24 Q So the Social Section and Act 372 are not connected?
25 A Yes, I do I have an objection of them --                     25 A No, sir.


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                                                                     1          ERRATA SHEET OF JUDGE CHRISTOPHER LEE KEITH
 1 Q Okay. Do you remember discussing how Craighead
                                                                     2   PAGE #/LINE #     CORRECTION        REASON FOR CORRECTION
 2 County and Jonesboro had decreased their millage? Do you
                                                                     3   __________________________________________________________
 3 remember discussing that with Mr. Adams?
                                                                     4   __________________________________________________________
 4 A Yes.
                                                                     5   __________________________________________________________
 5 Q Is Jonesboro a codefendant in this case?
 6 A No.                                                             6   __________________________________________________________

 7 Q Is Craighead County a defendant in this case?                   7   __________________________________________________________

 8 A No.                                                             8   __________________________________________________________

 9 Q Is Saline County a defendant in this case?                      9   __________________________________________________________

10 A No.                                                            10   __________________________________________________________

11 Q Is there any other -- Arkansas has 75 counties. One            11   __________________________________________________________

12 has been sued in this case. Of the 74 remaining counties,        12   __________________________________________________________

13 is any other a defendant in this case?                           13   __________________________________________________________

14 A No, sir.                                                       14   __________________________________________________________

15           MR. MCLELLAND: I'll reserve for trial.                 15   __________________________________________________________
16           I have to say it, otherwise I'll waive it.             16   __________________________________________________________
17           MR. ADAMS: I think that's all we have.                 17   __________________________________________________________
18           MR. MCLELLAND: We'll read and sign.                    18   __________________________________________________________
19           MR. ADAMS: Thank you very much.                        19   __________________________________________________________
20        (WHEREUPON, at 5:38 p.m., the                             20   __________________________________________________________
21         above deposition concluded.)                             21   __________________________________________________________
22                                                                  22   __________________________________________________________
23                                                                  23   __________________________________________________________
24                                                                  24   __________________________________________________________
25                                                                  25   __________________________________________________________


                                                          Page 98                                                          Page 100
                                                                     1                   C E R T I F I C A T E
 1   STYLE OF CASE: Fayetteville Public Library, et al vs.
                                                                     2
 2   Crawford County, Arkansas, et al                                    STATE OF ARKANSAS }
                                                                     3                     }
 3   WITNESS: Judge Christopher Lee Keith                                COUNTY OF FAULKNER}
                                                                     4
 4                                                                       RE:   ORAL DEPOSITION OF JUDGE CHRISTOPHER LEE KEITH
                                                                     5
 5            SIGNATURE PAGE FOR WITNESS                                 I, Michelle R. Satterfield, CCR, a Notary Public in and
 6                                                                   6   for Faulkner County, Arkansas, do hereby certify that the
                                                                         transcript of the foregoing deposition accurately reflects
 7      I hereby certify that I have read the above and              7   the testimony given; and that the foregoing was
                                                                         transcribed by me, or under my supervision, on my Eclipse
 8   foregoing transcript of my testimony, and that this             8   computerized transcription system from my machine
                                                                         shorthand notes taken at the time and place set out on the
 9   transcript, together with any corrections as shown on the       9   caption hereto, the witness having been duly cautioned and
                                                                         sworn, or affirmed, to tell the truth, the whole truth and
10   following page, is a true record of my testimony given at      10   nothing but the truth.
                                                                         I FURTHER CERTIFY that I am neither counsel for, related
11   this deposition.                                               11   to, nor employed by any of the parties to the action in
                                                                         which this proceeding was taken; and, further that I am
12                                                                  12   not a relative or employee of any attorney or counsel
                                                                         employed by the parties hereto, nor financially
13   _____________________________      ________________________    13   interested, or otherwise, in the outcome of this action.
                                                                         In accordance with the Arkansas Rules of Civil Procedure,
14     WITNESS SIGNATURE                                            14   Rule 30(e), review of the foregoing transcript by the
                                                                         witness was not requested by the deponent or any party
15                                                                  15   thereto.
                                                                         GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 31st
16                                                                  16   day of March 2024.
17       I certify that this deposition transcript was signed       17
18   in the presence of ______________________________ on the       18
19   ____________ day of _________________________, 2024.           19
20                                                                  20
                                                                                                 _________________________________
21                                                                  21                             Michelle R. Satterfield, CCR
                                                                                                   LS Certificate No. 570
22                  ____________________________                    22                             Notary Public in and for
                                                                                                   Faulkner County, Arkansas
23                     NOTARY PUBLIC                                23
24   MY COMMISSION EXPIRES:                                         24
25   _________________________                                      25


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